Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 1 of 82   PageID #: 9




                        EXHIBIT A
                                                             PRINTABLE CASE VIEW
Generated: 20-DEC-2021 10:50 AM
Search Criteria: Case ID or Citation Number: 3CCV-XX-XXXXXXX
1 record(s) total

Case ID: 3CCV-XX-XXXXXXX - Hawaii County v. McKinsey & Company, Inc.          Filing Date: THURSDAY, NOVEMBER 18, 2021
Type: CV - Circuit Court Civil                                                Court: THIRD CIRCUIT
Status: ACTIVE - Active Case                                                  Location: NORTH AND SOUTH HILO DIVISION
Last Updated: 10-Dec-2021
Related Cases

No related cases were found.
Case Parties

       Seq #              Assoc                 End Date                       Type                    ID                        Name / Aliases
1                                                                 Plaintiff                     @4881635          HAWAII COUNTY
2                                                                 Defendant                     @4881616          MCKINSEY & COMPANY, INC.
3                                                                 Attorney                      A7264             Choi, John Y. U.
4                                                                 Other                         D3C01             Third Circuit Court 1st Division
Bail / Bond Information
No Bails were found.


Events
No Case Events were found.


Dockets

    Docket #         Date                       Docket                         Document Name                       Parties                Filing Party
                                                                                                                                                         Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 2 of 82




1               11/18/2021        Complaint                            COMPLAINT; JURY DEMAND;           HAWAII COUNTY -          Choi, John Y. U.
                                  EFile Document upload of type        SUMMONS                           Plaintiff
                                  Complaint

                                  *FWD TO DIV 11/19/21 - LAK
2               11/18/2021        Proposed Document                    PROPOSED SUMMONS                  HAWAII COUNTY -          Choi, John Y. U.
                                  EFile Document upload of type                                          Plaintiff
                                  Complaint and Summons /* Docket
                                                                                                                                                         PageID #: 10




                                  Entry 2 was updated as a result of
                                   eFiling Correction */


                                                                                      1 of 2
3    11/18/2021   Civil Information Sheet               CIVIL INFORMATION SHEET       HAWAII COUNTY -          Choi, John Y. U.
                  EFile Document upload of type Civil                                 Plaintiff
                  Information Sheet
4    11/18/2021   Request to Exempt CAAP                REQUEST TO REMOVE CASE FROM   HAWAII COUNTY -          Choi, John Y. U.
                  EFile Document upload of type Ex      COURT ANNEXED ARBITRATION     Plaintiff
                  Parte Motion /* Docket Entry 4 was    PROGRAM
                  updated as a result of
                   eFiling Correction */
6    11/18/2021   Payment Due to Court                                                John Y Choi - Attorney

8    11/18/2021   Payment                                                             John Y Choi - Attorney
                  Payment by Credit Card-Civil in the
                  amount of $515.00 by Choi, John Y.
9    11/19/2021   Notice of Correction                                                HAWAII COUNTY -
                  /* Docket Entry 4 was updated as a                                  Plaintiff
                  result of eFiling Correction */
10   11/19/2021   Notice of Correction                                                HAWAII COUNTY -
                  /* Docket Entry 2 was updated as a                                  Plaintiff
                  result of eFiling Correction */
11   11/19/2021   Summons                               SUMMONS TO ANSWER CIVIL       HAWAII COUNTY -          Choi, John Y. U.
                                                        COMPLAINT                     Plaintiff
                                                                                      MCKINSEY &
                                                                                      COMPANY, INC. -
                                                                                      Defendant
13   11/19/2021   New Case Assignment                                                 HAWAII COUNTY -          Choi, John Y. U.
                  CASE ASSIGNED TO JUDGE                                              Plaintiff
                  PETER K. KUBOTA, DIVISION 1                                         MCKINSEY &
                                                                                      COMPANY, INC. -
                                                                                      Defendant
15   12/10/2021   Acknowledgment of Service             ACCEPTANCE OF SERVICE         HAWAII COUNTY -          Choi, John Y. U.
                  EFile Document upload of type                                       Plaintiff
                  Acknowledgment of Service
16   12/10/2021   Service-Return/Acknowledgement        RETURN AND ACKNOWLEDGMENT     HAWAII COUNTY -          Choi, John Y. U.
                  EFile Document upload of type         OF SERVICE (MCKINSEY &        Plaintiff
                  Service-Return/Acknowledgement        COMPANY)
                                                                                                                                  Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 3 of 82
                                                                                                                                  PageID #: 11




                                                                      2 of 2
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 4 of 82                                                                    PageID #: 12




 JOHN Y.U. CHOI 7264-0
 HAWAII ACCIDENT LAW CENTER
 Pacific Guardian Center, Makai Tower                                                                                       Electronically Filed
 733 Bishop Street, Suite 2390                                                                                              THIRD CIRCUIT
 Honolulu, Hawaii 96813                                                                                                     3CCV-XX-XXXXXXX
 attorneyjohnchoi@gmail.com                                                                                                 18-NOV-2021
 Tel 808.792.8333 Fax 808.536.4988                                                                                          04:27 PM
 Cell 808.258.4985                                                                                                          Dkt. 1 CMP

 Attorneys for Plaintiff Hawai’i County

                               IN THE CIRCUIT COURT OF THE THIRD CIRCUIT

                                                           STATE OF HAWAI’I

 HAWAI’I COUNTY,                                                               Civil No.:
                                                                               [Tort Non-Motor Vehicle]
                                           Plaintiff,
  v.                                                                           COMPLAINT; JURY DEMAND;
                                                                               SUMMONS
 MCKINSEY & COMPANY, INC.

                                            Defendant.

                                                                  COMPLAINT

                                              Table of Contents
 I.        INTRODUCTION................................................................................................................. 1
 II. PARTIES ............................................................................................................................... 8
      A.         Plaintiff ............................................................................................................................ 8
      B.         Defendant ........................................................................................................................ 9
 III.        JURISDICTION AND VENUE ........................................................................................ 9
 IV.         JURY DEMAND .............................................................................................................. 10
      A.   McKinsey Uses Its Expertise in Marketing Strategies in the Pharmaceuticals and
      Opioids Industry to Deliver Results Desired by Opioid Makers. ....................................... 10
      B.   McKinsey Enjoyed a Long and Lucrative Relationship as Purdue’s Outside
      Marketing Arm. ...................................................................................................................... 13
      C.    After Purdue’s 2007 Criminal Plea for Illegally Marketing OxyContin, McKinsey
      Created Strategies to Repair Purdue’s Reputation and Boost Oxycontin Sales ............... 16
           1.    McKinsey And Purdue Painted a Misleadingly Positive Portrait of Purdue to the FDA
           to Keep Selling Oxycontin. ................................................................................................... 16
           2.    McKinsey Gave Purdue the Tools to Limit FDA Regulations to Mitigate the Risks of
           Opioid Use. ........................................................................................................................... 18
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 5 of 82                                                               PageID #: 13




        3.   McKinsey Developed a Plan to Turn Around OxyContin Sales through Deceptive
        Marketing Claims and Encouraging High Doses. ................................................................. 19
     D.  McKinsey Developed the “Evolve to Excellence” Initiative to “Turbocharge”
     OxyContin Sales Focusing on High-Volume Prescribers. ................................................... 24
     E.    McKinsey’s Turbocharging Program Successfully Increased Purdue’s Profits, and
     Opioid Sales, Through Deceptive Marketing and Turning a Blind Eye to Potential
     Diversion. ................................................................................................................................. 30
     F.    McKinsey’s Turbocharging Initiative Also Advised Purdue to Circumvent
     Increased Safeguards on Abuse and Diversion of OxyContin. ........................................... 33
     G.     McKinsey Knew OxyContin Was Highly Abusable, Addictive, and Dangerous and
     that Its Marketing Strategies Thus Increased These Dangers............................................ 34
     H.   McKinsey, Like Purdue, Attempted to Portray Itself as Part of the Solution While
     Concealing Its Role in the Opioid Epidemic......................................................................... 35
     I. By Increasing Opioid Prescriptions and Use, McKinsey Fueled the Opioid Epidemic
     Alongside its Clients................................................................................................................ 40
 FIRST CAUSE OF ACTION COMMON LAW ABSOLUTE PUBLIC NUISANCE ......... 46
 SECOND CAUSE OF ACTION CIVIL CONSPIRACY ....................................................... 53
 THIRD CAUSE OF ACTION UNJUST ENRICHMENT ...................................................... 56
 FOURTH CAUSE OF ACTION VIOLATION OF RICO, 18 U.S.C. § 1961 ET SEQ. ....... 58
 PRAYER FOR RELIEF............................................................................................................. 63


            Plaintiff Hawaii County, HI (“Plaintiff”) files this Complaint against Defendant

 McKinsey & Company, Inc. (“McKinsey”). Plaintiff alleges as follows:

                                                        I.          INTRODUCTION

            1.         McKinsey—a global consulting firm with significant expertise in the

 pharmaceutical industry—for years served as the outside marketing arm for Purdue Pharma, L.P.

 (“Purdue”), creating and helping to implement marketing strategies and tactics to bolster the

 sales of Oxycontin, a Schedule II drug1 that is widely recognized as among the most frequently


 1
   Since passage of the Controlled Substances Act (“CSA”) in 1970, opioids have been regulated as controlled
 substances. Controlled substances are categorized in five schedules, ranked in order of their potential for abuse.
 The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their medicinal value,
 likelihood of addiction or abuse, and safety, with Schedule I being the highest and encompassing drugs with no
 currently accepted medical use and a high potential for abuse. Opioids generally had been categorized as Schedule


                                                                         1
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 6 of 82                                   PageID #: 14




 diverted and abused opioids. As Purdue faced growing scrutiny, McKinsey also helped the

 company protect its public image and to profit from the market for illicit opioids that predictably

 developed, and which McKinsey’s tactics helped to promote and maintain.

         2.       McKinsey’s relationship with Purdue dates back to at least 2004, but the company

 kept this partnership successfully under wraps for well over a decade. Even now, Plaintiff has

 obtained details only about McKinsey’s conduct dating back to 2009, around which this

 Complaint centers.

         3.       Meanwhile, McKinsey also advised other opioid makers, including Janssen

 Pharmaceuticals and Endo. From at least 2003 and continuing for more than a decade,

 McKinsey worked for Janssen on its Duragesic opioid product. Janssen was evidently satisfied

 with that work, as McKinsey also advised Janssen on boosting sales of its Nucynta opioid in

 2011. McKinsey also worked on behalf of Endo Pharmaceuticals on marketing Opana ER in

 2015.

         4.       McKinsey’s lending its expertise to help to other opioid manufactures grow their

 sales was not a conflict of interest with its relationship with Purdue. Rather, each of these opioid

 makers, along with others, conspired together to grow the overall market for opioids as part of

 their efforts to increase sales of their own individual products. That conduct is the subject of a

 separate complaints Plaintiff filed individually against this and other defendants. McKinsey

 recognized the value of collaboration, urging Purdue to band together with other manufacturers

 to “defend against strict treatment” by the federal Food & Drug Administration (“FDA”).

         5.       McKinsey understood Purdue’s goals and the work it would need to perform to

 maintain and even grow Purdue’s opioid profits amidst a growing epidemic of addiction and

 II or Schedule III drugs. Schedule II drugs have a high potential for abuse, have a currently accepted medical use,
 and may lead to severe psychological or physical dependence. 21 U.S.C. § 812.


                                                         2
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 7 of 82                     PageID #: 15




 abuse. Part of McKinsey’s work involved assessing the “underlying drivers” of OxyContin’s

 (financial) performance. As described below, these drivers boil down to two things: (1) a

 widespread deceptive marketing campaign; and (2) fueling an illicit market for non-medical use.

 Purdue entered into guilty pleas arising out of both types of conduct in 2007 and 2020,

 respectively. McKinsey delved into the “granular” aspects of Purdue’s sales and promotion. And,

 through the two companies’ long-term relationship, McKinsey understood Purdue’s business

 “both in terms of content and culture,” as its own renewed consulting agreement assured in 2013.

        6.      It could not have escaped McKinsey’s notice that Purdue’s parent company and

 three Purdue officers pled guilty to illegally marketing and promoting Oxycontin to prescribers

 and consumers in May of 2007. That agreement included an admission that “supervisors and

 employees, with the intent to defraud or mislead, marketed and promoted OxyContin as less

 addictive, less subject to abuse and diversion, and less likely to cause tolerance and withdrawal

 than other pain medications.” Part of this deceptive messaging included highlighting Oxycontin

 as a long-acting (“LA”) or extended release (“ER”) opioid and suggesting it created less chance

 for addiction than “immediate release” opioids because it had fewer “peak and trough” blood

 level effects or “did not cause a ‘buzz’ or euphoria” in the same manner as these other opioids.

        7.      Parents who had lost their children to OxyContin overdoses traveled to a Virginia

 courthouse “from as far away as Florida, Massachusetts and California” to urge the judge at a

 July 2007 sentencing hearing to order prison time for the individual executives.2 Media reports

 readily available to McKinsey described “heart wrenching testimony” from parents, including a




 2
    Barry Meier, 3 Executives Spared Prison in OxyContin Case, N.Y. Times (July 21, 2007),
 https://www.nytimes.com/2007/07/21/business/21pharma.html


                                                  3
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 8 of 82                            PageID #: 16




 mother who described parents as “given a life sentence due to [Purdue’s] lies and greed” and

 explained: “Our children were not drug addicts, they were typical teenagers.” 3

         8.      Following the guilty plea, Purdue, unwilling to change its ways, leaned on

 McKinsey for both its sales campaign and its efforts to portray itself as a good corporate citizen

 desiring to do the right thing. In 2009, McKinsey, upon information and belief, stepped in to

 help Purdue devise ways to counter “emotional messages from mothers with teenagers that

 overdosed [o]n OxyContin.” As part of this strategy, a McKinsey and Purdue team considered

 spreading their own message through pain patients who would be perceived as more credible

 sources suggesting a need for controlled or extended release opioids — even though the team

 devising this strategy would have known that extended release opioids did not substantially

 control pain better than lower-dose, immediate release opioids. McKinsey also coached Purdue

 on building “trust” (which from its vantage point, McKinsey knew was misplaced) in Purdue

 following its criminal conviction.

         9.      McKinsey also urged Purdue to capitalize on OxyContin’s extended-release

 characteristics in another way: marketing OxyContin’s 12-hour dosing as meaning that users

 only need to take OxyContin twice a day, thus requiring fewer pills. OxyContin in fact was well

 known to wear off after 8 to 10 hours in many patients, however. This “end of dose failure”

 leads to a vicious cycle that became, in the words of one neuropharmacologist, “the perfect

 recipe for addiction.”4 What McKinsey called “convenient,” would later be called “a

 [d]escription of Hell.”5



 3
   Id.
 4
   Harriet Ryan, “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” Los Angeles Times, May 5,
 2016, available at http://www.latimes.com/projects/oxycontin-part1/.
 5
   Id.


                                                     4
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 9 of 82                        PageID #: 17




         10.     For years, McKinsey advised Purdue on, and helped to implement, various

 strategies to raise sales of Oxycontin by focusing on high dose sales and deceptively messaging

 to physicians that OxyContin would improve function and quality of life. For example,

 McKinsey also urged Purdue to maximize sales by dictating, to a greater degree, which

 prescribers its sales representatives would target, exploring ways to increase the amount of time

 those sales representatives spent in the field increasing opioid sales, and prioritizing OxyContin

 in incentive compensation targets.

         11.     In 2013, amidst concerns about declining sales as Purdue lost patent exclusivity

 for its original formulation of OxyContin and sought to market a reformulated version as

 purportedly safer and abuse-deterrent, McKinsey developed for Purdue an entire marketing

 initiative—“Evolve to Excellence” or “E2E” — ultimately implemented as a plan to

 “turbocharge” opioid sales and also known as “Project Turbocharge.” McKinsey advised that

 Purdue would see a greater return on its sales investment by focusing its targets, including on

 prescribers with alarming prescribing patterns that raised red flags they were writing

 “prescriptions” for non-medical use. Its plan aimed at boosting sales of OxyContin by targeting

 the highest volume opioid prescribers, without addressing whether the expanded sales would be

 for an illicit market.

         12.     Purdue had a legal obligation not to target these prescribers; rather, it was

 obligated to report their conduct to law enforcement. Purdue later entered into a second criminal

 plea agreement for, among other things, failing to report and provide complete information to the

 U.S. Drug Enforcement Administration (“DEA”) regarding prescribers its internal anti-diversion

 programs indicated should not have been targeted and which, in some cases, Purdue visited, or

 “detailed,” to encourage them to prescribe opioids.



                                                   5
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 10 of 82                                PageID #: 18




          13.      McKinsey delivered the results Purdue wanted, and profited handsomely— it

  received more than $38 million for its work for Purdue from 2008-2013 alone. In pursuit of

  these profits, McKinsey continued to help Purdue grow opioid sales even after Purdue reached a

  2015 Assurance of Discontinuance with New York arising out of an investigation concerning its

  Abuse and Diversion Detection (“ADD”) program and media coverage highlighted its lack of

  attention to diversion control. McKinsey’s own work elsewhere identified “reducing

  prescribing”6 as among the efforts to combat the opioid epidemic and also showed that opioid

  prescribers were frequently writing prescription for patients with known risks of abuse. Still,

  McKinsey continued to work to help opioid manufacturers increase opioid sales, including

  through Purdue’s deceptive marketing campaign.

          14.      Only after Purdue faced mounting legal pressure and reduced its sales force, and

  McKinsey’s own reputation became tarnished, did McKinsey finally step away from its work for

  Purdue and later cease “opioid-specific” work on behalf of other clients altogether. Belatedly,

  McKinsey acknowledged what it described as the “implications of its work” on “the epidemic

  unfolding in our community or the terrible impact of opioid misuse and addiction on millions of

  families across the country.”

          15.      As a direct and foreseeable result of McKinsey’s conduct, the nation and

  Plaintiff’s community are now swept up in what the CDC has called a “public health epidemic”

  and what the U.S. Surgeon General has deemed an “urgent health crisis.”7 In 2015, an estimated

  2 million Americans were addicted to prescription opioids and 591,000 to heroin. From 1999 to


  6
      https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/why-we-need-bolder-action-
  to-combat-the-opioid-epidemic (Sept. 6, 2018)
  7
    CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29, 2014), available at
  http://www.cdc.gov/washington/testimony/2014/t20140429.htm;. Vivek H. Murthy, Letter from the Surgeon
  General, August 2016, available at http://turnthetiderx.org.


                                                        6
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 11 of 82                             PageID #: 19




  2016, more than 200,000 people died in the U.S. from overdoses related to prescription

  opioids—more than the number of Americans who died in the Vietnam War.

          16.     Overdoses have been killing people at a pace faster than the H.I.V. epidemic did

  at its peak. As Robert Anderson, who oversees death statistics at the CDC, explained: “‘I don’t

  think we’ve ever seen anything like this. Certainly not in modern times.’”8

          17.     According to the director of the CDC, one out of every 550 patients started on

  opioid therapy die of opioid-related causes a median of 2.6 years after their first opioid

  prescription. As the then CDC director concluded: “We know of no other medication routinely

  used for a nonfatal condition that kills patients so frequently.”9

          18.     As many as 1 in 4 patients who receive prescription opioids long-term for chronic

  pain in primary care settings struggles with addiction. Prescription opioids at the molecular level

  and in their effect, closely resemble heroin. Prescription opioids are synthesized from the same

  plant as heroin, have similar molecular structures, and bind to the same receptors in the human

  brain. And, the link between prescription narcotic painkiller abuse and subsequent and/or

  simultaneous heroin abuse continues to grow. Across the country, 80% of recent heroin users

  have previously used prescription opioids non-medically. As the American Society of

  Addiction Medicine has explained, four out of five people who try heroin today started with

  prescription painkillers.

          19.     Meanwhile, the intersection of the COVID-19 pandemic increases the risks for

  those struggling with opioid use disorder and the strain on efforts to combat the opioid epidemic.

  The National Institute on Drug Abuse (NIDA)’s prediction that “we’re going to see deaths

  8
     Associated Press, Drug Overdoses Killed 50,000 in U.S., More than Car Crashes, (Dec. 9, 2016),
  https://www.nbcnews.com/health/health-news/drug-overdoses-killed-50-000-u-s-more-car-crashes-n694001
  9
    Frieden and Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing Guideline, NEJM, 4/21/16, at
  1503.


                                                      7
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 12 of 82                                PageID #: 20




  climb”10 has proven tragically accurate in Hawaii, with a three-month period in 2020 described

  as the deadliest for opioid overdose since the opioid epidemic began.

          20.      This human tragedy cannot be calculated or compensated. And, as community

  have worked to save lives, the opioid epidemic has continued to outpace their efforts. The

  financial burden to Plaintiff is staggering. Plaintiff provides, and the Counties have expanded,

  services to confront this public health epidemic. Narcan administration has saved hundreds of

  lives. Expanded addiction treatment services, recovery housing, and innovative programs have

  sought to help people heal. Plaintiff would further expand these efforts, but have only so much

  funding, which the demands of this unprecedented epidemic have so overwhelmed. Plaintiff is

  also faced with increased costs of drug crimes and other public services because of the opioid

  epidemic.

          21.      McKinsey’s conduct violates the Racketeer Influenced and Corrupt Organizations

  Act (“RICO”), 18 U.S.C. § 1961 et seq., Additionally, McKinsey’s conduct constitutes a public

  nuisance, civil conspiracy, and unjust enrichment. Accordingly, Plaintiff bring this action to hold

  McKinsey accountable for its conduct and seeks abatement, damages, and any other injunctive

  and equitable relief within this Court’s powers to redress and halt these unfair, deceptive, and

  unlawful practices.

                                                 II.     PARTIES

  A.      Plaintiff

          22.      The County of Hawaii is a County located in the state of Hawaii in the Hawaiian

  Islands. It is coextensive with the Island of Hawaii, often called the "Big Island" to distinguish it


  10
    Dan Goldberg and Brianna Ehley, Trump officials, health experts worry coronavirus will set back opioid fight,
  Politico, April 10, 2020, available at https://www.politico.com/news/2020/04/10/trump-officials-health-experts-
  worry-coronavirus-will-set-back-opioid-fight-179257. (quoting Nora Volkow, Director of NIDA).


                                                        8
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 13 of 82                         PageID #: 21




  from the state as a whole. Hawaii County is the largest county in the state in terms of geography.

  As of the 2010 census, the population of Hawaii County was estimated to be in excess of

  185,079.

              23.     Hawaii County provides many services for its residents, including public

  assistance, law enforcement services, criminal justice services, addiction and mental health

  services, and services for families and children.

  B.          Defendant

              24.     Defendant McKinsey & Company, Inc. (“McKinsey”) is a Delaware corporation

  with its principal place of business in New York State and Washington D.C.

              25.     McKinsey is a management consulting firm founded by James O. McKinsey in

  1926. McKinsey today has over 30,000 employees and operates in more than 65 countries. It,

  along with Bain Consulting and the Boston Consulting Group, is considered one of the “Big 3”

  management consultants. McKinsey may be served in Hawaii through its registered agent: 1003

  Bishop Street, Suite 1600 Pauahi Tower, Honolulu, Hawaii, 96813.

       III.         JURISDICTION AND VENUE

              26.     This Court has personal jurisdiction over McKinsey under Haw. Rev. Stat. § 634-

  35 because the causes of action alleged in this Complaint arise out of McKinsey’s transacting

  business in Hawaii, contracting to supply services or goods in this state, causing tortious injury

  by an act or omission in this state, causing tortious injury in Hawaii and because McKinsey

  regularly does or solicits business or engaged in a persistent course of conduct or derived

  substantial revenue from goods used or consumed or services rendered in this State. McKinsey

  has purposefully directed its actions towards Hawaii and/or has the requisite minimum contacts

  with Hawaii to satisfy any statutory or constitutional requirements for personal jurisdiction.



                                                      9
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 14 of 82                        PageID #: 22




            27.   Venue is proper in this court pursuant to Hawai’i Revised Statute §603-36. This

  case is subject to transfer to In re: McKinsey & Co., Inc. National Prescription Opiate

  Consultant Litigation, 3:2021-md-02996 (N.D. Cal.).

            28.   This action is unrelated to Purdue’s pending bankruptcy proceeding. No relief is

  sought from Purdue herein. Rather, the only relief sought is from McKinsey. This action has no

  effect on the estate being administered in Purdue’s bankruptcy or the handling and

  administration thereof, and does not affect Purdue’s rights, liabilities, options or freedom of

  action.

                                          IV.     JURY DEMAND

            29.   Plaintiff demands a jury trial for all claims triable by jury.

                                   V.      FACTUAL ALLEGATIONS

  A.        McKinsey Uses Its Expertise in Marketing Strategies in the Pharmaceuticals and
            Opioids Industry to Deliver Results Desired by Opioid Makers.

            30.   McKinsey is a global consulting firm with many areas of expertise, including the

  pharmaceutical industry. As a management consulting firm, McKinsey provides advice to

  managers on how to run their companies or other enterprises. Management consultants have the

  ability to provide firms with specialized expertise or an outside perspective on its shortcomings

  that a company, focused on its core business, may lack.

            31.   Today, McKinsey’s website explains “How We Help Clients” in the

  pharmaceuticals industry: “Helping maximize commercial value by assisting with product

  launch, marketing, sales, and market access.”

            32.   McKinsey pitched its services to Purdue on the basis that it was able to “bring

  examples from other successful companies” and perform “detailed analytics.”




                                                    10
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 15 of 82                          PageID #: 23




          33.     When Purdue entered into a “Master Consulting Agreement” with McKinsey in

  2004, Purdue explicitly recognized “McKinsey has a fine reputation and excellent experience

  and relationships in our industry,” which Purdue was counting on to boost its opioids business.

          34.     McKinsey touted itself as being able to bring “additional capacity, horsepower,

  and industry experience to look at existing and new data in a way that wasn’t done before.

  Indeed, it is when a client “has a problem that they cannot solve with their internal resources

  that’s the most classic way that McKinsey is brought in.”11 McKinsey’s strategies, and aid in

  implementing those strategies, do not come cheap. And, it stands to reason that profit-minded

  Purdue would not have paid McKinsey millions of dollars to help it achieve goals it could have

  obtained without that assistance.

          35.     McKinsey is a highly selective employer and advertises that its employees join

  “for the opportunity to apply their talents to complex, important challenges.”12 “Talent” is key to

  McKinsey’s model and a way McKinsey markets itself as able to add (financial) value to its

  clients. The McKinsey consultants who spearheaded McKinsey’s engagement with Purdue are

  experts in the pharmaceutical industry. Rob Rosiello, had more than 30 years of experience in

  the pharmaceutical industry and, upon leaving McKinsey in 2015, became an executive at

  Valeant Pharmaceuticals. Arnab Ghatak is a medical doctor by training. Martin Elling is a leader

  in McKinsey’s Pharmaceuticals and Medical Products Practice.

          28.     McKinsey also helped Janssen target its opioid marketing by identifying “priority

  growth opportunities” and growth strategies for Duragesic. In 2002, McKinsey considered

  “[w]hat are settings of care for opioid high-prescribers and treaters of back pain,” listing the


  11
     How McKinsey Became One of the Most Powerful Companies in the World, CNBC, June 6, 2019 available at:
  https://www.youtube.com/watch?v=BBmmMj_maII
  12
     https://www.mckinsey.com/about-us/overview


                                                    11
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 16 of 82                            PageID #: 24




  “elderly” as an example; McKinsey also considered how “data mining” might influence

  preferences for Duragesic. Evidence disclosed in an action by Oklahoma against Janssen’s parent

  company, Johnson & Johnson, revealed McKinsey had taught Janssen to target younger patients,

  under 40 years old, as well.

          29.     McKinsey does not simply give advice, however profitable its strategies may be.

  It espouses the idea of the “transformational relationship,” arguing that real value for the client

  derives from this ongoing connection with the firm.13 Although it may start with a discrete

  project, once ensconced in a company,” such as Purdue, McKinsey may not leave, but rather

  ensure itself a steady and growing flow of billings for years, if not decades.14

          30.     A core component of this relationship is discretion, as the individuals who worked

  with Purdue would have understood. McKinsey recognizes it must have its clients’ trust and

  make confidentiality “paramount,” as “[c]ompanies share their most competitive secrets with

  McKinsey” for McKinsey to do its work.15

          31.     McKinsey can expect to learn these secrets because it is so deeply embedded in

  the client’s organizational structure, with McKinsey employees working side by side with the

  client. As one McKinsey Senior Implementation Coach explained, McKinsey would interact

  “with every element of th[e] organization,” from the employees on “on the front line, all the way

  up to the board of directors.”16 Another McKinsey consultant stated that in the “most successful

  engagements” he had seen, “you can’t even tell the difference between a McKinsey team




  13
     Duff McDonald, The Firm, Pg. 136.
  14
     Id.
  15
     Id. at 308
  16
     McKinsey on Implementation, April 30, 2017, available at https://www.youtube.com/watch?v=rEQOGVpl9CY


                                                     12
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 17 of 82                                       PageID #: 25




  member and one of our clients because we working that cohesively together.”17 As described

  below, McKinsey planed to work alongside Purdue in its effort to “turbocharge” opioid sales,

  building an approach around “ten work teams dedicated” to “help ensure a winning

  implementation” of the project, as well as to aid the salesforce to “significantly bolster

  OxyContin and Butrans sales and to improve Purdue’s readiness for future launches.”

           32.      For one “major initiative” with Purdue, “McKinsey forecast[ed] a potential

  incremental increase in sales in the $200-400mm range” over a three-year period — “[w]hen

  properly implemented.” Purdue hired McKinsey not only to give it advice, but to implement that

  advice down to the retail marketing level.

  B.       McKinsey Enjoyed a Long and Lucrative Relationship as Purdue’s Outside
           Marketing Arm.

           33.      Purdue is the manufacturer of OxyContin, among other opioids. OxyContin is a

  Schedule II opioid agonist18 tablet of pure oxycodone first approved in 1995 and the product

  whose launch in 1996 ushered in the modern opioid epidemic. At the times relevant to this

  complaint, Purdue made it available in the following strengths: 10 mg, 15 mg, 20 mg, 30 mg, 40

  mg, 60 mg, and 80 mg. The weakest OxyContin delivers as much narcotic as the strongest

  Percocet, and some OxyContin tablets delivered many times that. OxyContin is currently

  indicated for the management of pain severe enough to require daily, around-the-clock, long-

  term opioid treatment and for which alternative treatment options are inadequate.

           34.      Purdue is owned by members of the Sackler family and was for many years led by

  its Board Director and former President, Dr. Richard Sackler. Richard Sackler had grand


  17
     Id. For McKinsey’s own description of its implementation services, See https://www.mckinsey.com/business-
  functions/mckinsey-accelerate/how-we-help-clients/implementation.
  18
     An opioid agonist is a drug that activates certain opioid receptors in the brain. An antagonist, by contrast, blocks
  the receptor and can also be used in pain relief or to counter the effect of an opioid overdose.


                                                           13
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 18 of 82                              PageID #: 26




  ambitions for the company; according to a long-time Purdue sales representative, “Richard really

  wanted Purdue to be big—I mean really big.”19 To meet that goal, and to continue selling amidst

  controversy and growing concern, especially after the 2007 guilty plea, Purdue, and the Sacklers,

  needed McKinsey’s help.

          35.     In 2004, after a ruling that held patents on OxyContin unenforceable due to

  Purdue misleading the patent office, McKinsey stepped in to help Purdue “protect [its] sales and

  continue to grow our business.”

          36.     On March 1, 2004, McKinsey entered into a “Master Consulting Agreement” with

  Purdue for “services that would be defined from time to time.” The Agreement was signed by

  then-McKinsey Director Rob Rosiello.”

          37.     From 2004 through 2008, McKinsey advised Purdue on R&D, business

  development, and product licensing related to Purdue’s opioid products. Consistent with its

  business model, McKinsey leveraged these projects into growth of its “Broader Strategy work”

  also underway with Purdue. Specifically, in October 2008, Purdue retained McKinsey for broad

  strategy work after two board members “blessed” Purdue executive Craig Landau with doing

  “whatever he thinks is necessary to ‘save the business’” after the 2007 criminal plea and

  introduction of generic competition to the older OxyContin. As described below, Purdue relied

  heavily on McKinsey to help Purdue publicly portray itself as a good corporate citizen who

  could now be trusted and was even working on an “abuse-deterrent” or “ADF” form of

  OxyContin.




  19
     Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire (Oct. 16, 2017),
  http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.


                                                      14
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 19 of 82                         PageID #: 27




             38.     Over their many years of working together, McKinsey and Richard Sackler,

  developed a close relationship. Indeed, one McKinsey partner, Maria Gordian, describes herself

  as a counselor to Richard Sackler in an “Ey 2009 Impact Summary.”

             39.     Like Purdue, McKinsey was looking for growth. In a March 2009 self-

  assessment, Ms. Gordian described McKinsey’s progress in having “continue[d] to expand the

  depth and breadth of [its] relationships with Purdue” and plans to “deepen[]” McKinsey’s

  “relationship with the Sackler family,” including by “serving them on key business development

  issues” and “expanding” McKinsey’s relationship with members of Purdue’s senior management

  team.

             40.     By August 2009, Richard Sackler had convened a meeting of Board members and

  staff to discuss efforts to “reverse the decline in the OxyContin tablets market.”

             41.     During the 2009-2014 period in particular, Purdue relied extensively on

  McKinsey to develop its sales and marketing strategy for OxyContin. McKinsey worked closely

  with Purdue on both the creation and implementation of OxyContin sales strategy. McKinsey’s

  work for Purdue included multiple facets of its business, including general and administrative

  consulting, review of product acquisition, evaluation of research and development, advising

  Purdue on the design of clinical studies, risk management, and product marketing.

             42.     On May 28, 2013, McKinsey entered into a “Statement of Services to the Master

  Consulting Agreement” (“2013 Agreement”) with Purdue to “conduct a rapid assessment of the

  underlying drivers of current OxyContin performance, identify key opportunities to increase

  near-term OxyContin revenue and develop plans to capture priority opportunities.”20 The 2013

  Agreement stated “We have a long history of partnership with Purdue, and we would make best


  20
       Quoted in Addendum to Purdue’s 2020 Settlement Agreement with federal authorities.


                                                          15
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 20 of 82                       PageID #: 28




  efforts to leverage our understanding of your business—both in terms of content and culture.”

  The 2013 Agreement was signed by then-Principal Arnab Ghatak who would “lead the team with

  senior leadership from Rob Rosiello and Martin Elling.”

          43.    McKinsey continued to work with Purdue on strategies to boost the sales of its

  opioid products, in particular OxyContin, through 2017, when Purdue, which soon would be

  facing hundreds of lawsuits arising out if its role in the opioid epidemic, reduced its investment

  in sales.

          44.    Even after the 2007 guilty plea, Purdue, with McKinsey’s aid, saw growing

  profits from opioid sales. In 2015 alone, it obtained $ 3 billion in annual opioid sales — a four-

  fold increase from its 2006 sales of $800 million.

  C.      After Purdue’s 2007 Criminal Plea for Illegally Marketing OxyContin, McKinsey
          Created Strategies to Repair Purdue’s Reputation and Boost Oxycontin Sales

          1. McKinsey And Purdue Painted a Misleadingly Positive Portrait of Purdue to the
             FDA to Keep Selling Oxycontin.

          45.    As described above, in its 2007 criminal plea, Purdue acknowledged that it

  illegally marketed and promoted OxyContin by falsely claiming that OxyContin was less

  addictive, less subject to abuse and diversion, and less likely to cause withdrawal symptoms than

  other pain medications—all in an effort to maximize its profits.

          46.    McKinsey advised Purdue on how to approach the FDA in light of its criminal

  conviction and retain business in light of the reputational damage to the company and to

  OxyContin after the admissions in its guilty plea.

          47.    In 2008, Purdue submitted a New Drug Application for a reformulation of

  OxyContin, ostensibly to make it more difficult to abuse by extracting the active ingredient from




                                                  16
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 21 of 82                       PageID #: 29




  it or otherwise defeating the time-release mechanism in OxyContin tablets — i.e. another

  product Purdue would later deceptively promote as safer than and less prone to abuse than it was.

         48.     In June 2009, McKinsey helped Purdue prepare for an FDA Advisory Committee

  meeting. Among other recommendations, McKinsey advised that “we will need to be ready with

  the right messages.” It also cautioned that that there was a perception of Purdue as

  “disingenuous, trying to expand the OxyContin market by reformulating” and as well as

  Purdue’s ability to “explicitly quash[]” such concerns with assurances that this was not its intent.

         49.     McKinsey prepared for Purdue an “FDA Advisory Committee on Reformulated

  OxyContin: Question & Answer Book” in September 2009, with questions including “Why

  should we trust you?” In response, McKinsey recommended Purdue say “We acknowledge

  mistakes made in the past[;]” “We have x, y and z measures in place that did not exist before[;]”

  and “[a]t all levels, Purdue’s focus is on maintaining the highest ethical standards and meeting

  the needs of patients[.]” To the question of “Who at Purdue takes personal responsibility for all

  these deaths?[,]” McKinsey recommended Purdue say “We all feel responsible[.]”

         50.     In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

  properties will have no effect on abuse by the oral route (the most common mode of abuse).”

         51.     In approving reformulated OxyContin, the FDA cautioned that the reformulation

  “is not completely tamper resistant and those intent on abusing this new formulation will likely

  find a means to do so. In addition, the product can still be misused or abused and result in

  overdose by simply administering or ingesting larger than recommended oral doses.”




                                                   17
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 22 of 82                            PageID #: 30




          52.     Having advised Purdue on the design of tests of reformulated OxyContin as part

  of Purdue’s FDA submission, McKinsey knew that reformulated OxyContin could still be

  abused.21

          53.     Reformulated ADF OxyContin was approved by the FDA in April 2010, but it

  was not until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted

  reference to the abuse-deterrent properties in its label. Years earlier, in August 2010, however,

  Purdue discontinued the original version of OxyContin and began selling reformulated

  OxyContin. It is unlikely a coincidence that reformulated OxyContin was introduced shortly

  before generic versions of OxyContin were to become available, threatening to erode Purdue’s

  market share and the price it could charge. Purdue nonetheless touted its introduction of

  reformulated OxyContin and another ADF opioid as evidence of its good corporate citizenship

  and commitment to protecting the public. Having successfully navigated the approval process,

  Purdue then proceeded to market the ADF version of OxyContin as a solution to opioid abuse

  and as a reason that doctors could continue to safely prescribe their opioids.

          54.     Purdue was not a changed company, nor did it take responsibility for the harm it

  caused. Indeed, even in May 2019, Richard Sackler testified in a deposition that he and his

  colleagues on the Board “did not have a responsibility” to correct language suggesting

  OxyContin was less likely abused, professing ignorance on that matter.

          2. McKinsey Gave Purdue the Tools to Limit FDA Regulations to Mitigate the
             Risks of Opioid Use.

          55.     At the same time as it worked to rehabilitate Purdue’s image with the FDA,

  McKinsey, in parallel, advised Purdue on how to limit FDA regulations aimed at mitigating the


  21
    McKinsey specifically advised Purdue on how to respond to questions raised at an FDA advisory committee,
  which noted a “determined abuser” could extract half of the active ingredient.


                                                     18
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 23 of 82                     PageID #: 31




  risks of opioid use. In 2008, shortly after Purdue’s criminal plea, the FDA requested Purdue

  submit a proposed “Risk Evaluation and Mitigation Strategy” for OxyContin. McKinsey

  provided Purdue with drafts of the submission. In 2009, the FDA expanded its scope to a class-

  wide ER/LA REMS program.

             56.   Purdue sought to avoid a requirement that prescribers undergo mandatory training

  on OxyContin’s risks or management or obtain certification before prescribing OxyContin,

  which would limit the numbers of available prescribers. Purdue turned to McKinsey. McKinsey

  found the cost to Purdue of a system to verify completion of prescriber education before

  prescriptions could be filled would be $50 million—an estimate Purdue used to oppose efforts

  for more rigorous risk management strategies. A summary of McKinsey’s work on REMS

  prepared by Purdue stated that the REMS Purdue and McKinsey developed for OxyContin

  would “preserv[e] patients’ access,” a euphemism meaning prescriptions would not be reduced,

  and that it positioned Purdue as a “leader,” which it was then able to apply to class-wide REMS.

             57.   Armed with McKinsey’s analysis, Purdue’s strategy on REMS was effective. The

  REMS program avoided verification and enrollment provisions that would harm Purdue’s

  profits.

             58.   Meanwhile, based on McKinsey’s work on Extended Release Opioid REMS,

  McKinsey was aware of warnings and adverse events included within the OxyContin medication

  guide and communications plans, including risks of overdose and adverse events including

  dizziness and lethargy.

             3. McKinsey Developed a Plan to Turn Around OxyContin Sales through
                Deceptive Marketing Claims and Encouraging High Doses.

             59.   In 2009, McKinsey provided multi-faceted advice to Purdue to turnaround recent

  volume and share decline in OxyContin.

                                                  19
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 24 of 82                           PageID #: 32




            i. Promoting Higher Doses Without Disclosing Increased Risks.

          60.     McKinsey advised Purdue that although OxyContin prescriptions had indeed

  decreased, Purdue did not lose as much money from this due to a shift in OxyContin

  prescriptions towards higher dose pills. McKinsey recommended an approach to OxyContin

  marketing that emphasized and encouraged higher dose prescriptions by a smaller number of

  loyalist prescribers.

          61.     It was, however, well known that higher doses of opioids carry greater risk.

  Patients receiving high doses of opioids (e.g., doses greater than 100 mg morphine equivalent

  dose (“MED”) per day) as part of long-term opioid therapy are three to nine times more likely to

  suffer overdose from opioid-related causes than those on low doses. As compared to available

  alternative pain remedies, scholars have suggested that tolerance to the respiratory depressive

  effects of opioids develops at a slower rate than tolerance to opioids’ analgesic effects. The

  United States Centers for Disease Control and Prevention also recognizes that higher doses of

  opioids tend to increase overdose risks relative to any potential patient benefit.22

          62.     In an October 26, 2009 presentation, “OxyContin – driving growth through

  stronger brand loyalty,” McKinsey proposed tactics to turnaround declining sales, “[e]nhance

  loyalty to OxyContin among loyalist prescribers,” “convert[ing] ‘fence sitters’ into more loyal

  OxyContin prescribers,” and “protect OxyContin’s market share[.]” In other words, McKinsey

  proposed increasing sales by pushing both willing and reluctant physicians to prescribe more

  OxyContin.

          63.     McKinsey recommended segmenting prescribers and tailoring messages and

  tactics to different segments. For prescribers dubbed “Early Adopting Experts” and “Proactive

  22
    Dowell D, Haegerich TM, Chou R. CDC Guideline for Prescribing Opioids for Chronic Pain — United States,
  2016. MMWR Recomm Rep 2016;65(No. RR-1):1–49. DOI: http://dx.doi.org/10.15585/mmwr.rr6501e1


                                                     20
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 25 of 82                         PageID #: 33




  Teachers,” defined by a willingness to use extended release opioids, including in opioid naïve

  patients (patients who were not already using opioids), McKinsey urged emphasizing that its 7

  tablet strengths provide flexibility to “tailor the dose” to customer needs. Upon information and

  belief, this message aimed to encourage prescribers to initiate and maintain patients on

  OxyContin long-term by reminding them they could increase the dose as patients became

  tolerant with long-term use (rather than discontinue use when the drug lost its effectiveness).

             64.     Claims that opioids could be taken in ever-increasing strengths to obtain pain

  relief, without disclosing that higher doses increased the risk of addiction and overdose are

  deceptive and misleading. They were particularly important to promotional efforts, however,

  because patients on opioids for more than a brief period develop tolerance, requiring increasingly

  high doses to achieve pain relief. Marketers needed to generate a comfort level among doctors to

  ensure the doctors maintained patients on the drugs even at the high doses that became

  necessary.

             65.     Purdue adopted McKinsey’s prescriber segmentation proposal. Further, many of

  the messages McKinsey urged appeared in OxyContin promotional materials from 2009-2012,

  including the “Conversion and Titration Guide,” which included similar claims about “tailoring

  the dose.”

             66.     The messaging worked. Nationwide, based on an analysis by the Los Angeles

  Times, more than 52% of patients taking OxyContin longer than three months are on doses

  greater than 60 milligrams per day—which converts to the 90 MED that the CDC Guideline

  urges prescribers to “avoid” or “carefully justify.”23




  23
       CDC Guideline at 16.


                                                     21
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 26 of 82                       PageID #: 34




           ii. False Promises of Functional Improvement.

         67.     McKinsey recommended a strategy to target those prescribers who did not

  regularly prescribe OxyContin – so-called “Resigned Followers and ER Delayers,” encouraging

  them to “increase step-up” to extended release opioids. These were physicians with “low

  comfort with extended release opioids. McKinsey encouraged Purdue to emphasize to them the

  “range of appropriate patients.” In other words, McKinsey’s strategy recommended that Purdue

  encourage these prescribers to use OxyContin earlier in a patient’s treatment for a wider range of

  patients and for longer periods of time.

         68.     McKinsey stated that by highlighting the ability to “tailor the dose” and treat a

  “broad range of patients,” the prescriber-takeaway would be that “physicians can help their

  patients function better and lead a fuller and more active life,” even though this conclusion was

  not to be explicitly addressed.”




         69.     Upon information and belief, McKinsey knew better than to encourage the

  express message that OxyContin would improve patients’ function, and relied instead on the

  implied “takeway.” That it carefully crafted this deceptive message indicates understanding of

  the culpability of its conduct, rather than an innocent mistake.

         70.     Claims that OxyContin improved function and quality of life were not supported

  by substantial evidence and, in addition, failed to take into account risks of addiction. As a pain

  specialist noted in an article titled “Are We Making Pain Patients Worse?”: “[O]pioids may work

  acceptably well for a while, but over the long term, function generally declines, as does general

  health, mental health, and social functioning. Over time, even high doses of potent opioids often


                                                   22
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 27 of 82                                       PageID #: 35




  fail to control pain, and these patients are unable to function normally.” A 2006 study-of-studies

  found that opioids as a class did not demonstrate improvement in functional outcomes over other

  non-addicting treatments. Most notably, it stated: “For functional outcomes, the other analgesics

  were significantly more effective than were opioids.”24

           71.      The FDA and other federal agencies have, for years, made clear the lack of

  evidence for claims that the use of opioids for chronic pain improves patients’ function and

  quality of life.25 The CDC Guideline, following a “systematic review of the best available

  evidence,” concluded that “[w]hile benefits for pain relief, function and quality of life with long-

  term opioid use for chronic pain are uncertain, risks associated with long-term opioid use are

  clearer and significant.”26 According to the CDC director, “for the vast majority of patients, the

  known, serious, and too-often-fatal risks far outweigh the unproven and transient benefits [of

  opioids for chronic pain].”27

                                          iii. Promoting “Convenience” of 12-Hour Dosing.




  24
     Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
  174(11) Can. Med. Ass’n J. 1589 (2006). This same study revealed that efficacy studies do not typically include
  data on opioid addiction. In many cases, patients who may be more prone to addiction are pre-screened out of the
  study pool. This does not reflect how doctors actually prescribe the drugs, because even patients who have past or
  active substance use disorders tend to receive higher doses of opioids. Karen H. Seal, Association of Mental Health
  Disorders With Prescription Opioids and High-Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. Am.
  Med. Ass’n 940 (2012).
  25
     The FDA has warned other drug makers that claims of improved function and quality of life were misleading. See
  Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO,
  Actavis Elizabeth LLC (Feb. 18, 2010) (rejecting claims that Actavis’ opioid, Kadian, had an “overall positive
  impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment of life.”); Warning Letter
  from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman, President
  and Chief Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008) (finding the claim that “patients who are
  treated with [Avinza (morphine sulfate ER)] experience an improvement in their overall function, social function,
  and ability to perform daily activities . . . has not been demonstrated by substantial evidence or substantial clinical
  experience.”). The FDA’s warning letters were available to McKinsey on the FDA website.
  26
     CDC Guideline at 2, 18.
  27
     Thomas R. Frieden and Debra Houry, New England Journal of Medicine, “Reducing the Risks of Relief—The
  CDC Opioid-Prescribing Guideline” at 1503 (Apr. 21, 2016).


                                                           23
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 28 of 82                                    PageID #: 36




             72.     McKinsey also urged messages concerning the “convenience of q12h dosing,”

  even though it was well-known in the pain treatment field that the analgesic effect of OxyContin

  wore off after eight to ten hours in many patients. This was not a new message, but one Purdue

  had tried before, even though it knew the drug did not last 12 hours in many patients.

  Additionally, the FDA found in 2008, in response to a Citizen Petition by the Connecticut

  Attorney General, that a “substantial proportion” of chronic pain patients taking OxyContin

  experienced “end of dose failure”—i.e., little or no pain relief at the end of the dosing period.

             73.     End-of-dose failure renders OxyContin even more dangerous because patients

  begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

  cycle that fuels a craving for OxyContin. For this reason, Dr. Theodore Cicero, a

  neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

  OxyContin’s 12-hour dosing “the perfect recipe for addiction.”28 Many patients will exacerbate

  this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

  opioid, increasing the overall amount of opioids they are taking. Promotion of 12-hour dosing,

  without disclosing its limitations, is misleading because it implies that the pain relief supplied by

  each dose lasts 12 hours.

             74.     McKinsey, however, evidently recognized messages concerning the dosing as key

  to OxyContin’s market dominance and high price.

         D. McKinsey Developed the “Evolve to Excellence” Initiative to “Turbocharge”
            OxyContin Sales Focusing on High-Volume Prescribers.

             75.     OxyContin sales declined after the release of reformulated OxyContin, despite

  Purdue’s promotional efforts, and continued to decline in 2012 and early 2013.



  28
       Harriet Ryan, “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” supra Note 4.


                                                          24
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 29 of 82                          PageID #: 37




         76.       As a result, Purdue again turned to McKinsey to fix its OxyContin sales problem.

  McKinsey entered into the 2013 Agreement with Purdue to “conduct a rapid assessment of the

  underlying drivers of current OxyContin performance, identify key opportunities to increase

  near-term OxyContin revenue and develop plans to capture priority opportunities.” McKinsey

  understood that “current OxyContin performance” was “OxyContin 2012 and early 2013

  performance is below forecast and [Purdue’s] shared aspirations.”

         77.       McKinsey was tasked with “Identifying Granular Growth Opportunities for

  OxyContin,” conducting an “assessment of the underlying drivers of current OxyContin

  performance,” identifying “key opportunities to drive near-term OxyContin performance,” and

  developing “plans to capture priority opportunities.”

         78.       For purposes of the project, McKinsey would need “[f]ull access to work done to

  date and key data.” And, Purdue shared with McKinsey its physician-level sales and targeting

  data in order for McKinsey to develop a marketing strategy.

         79.       McKinsey attributed the decline in sales in part to reformulation. McKinsey’s

  work also considered “DEA actions, negative media/prop,” and “sales force execution” among

  other factors.

         80.       Although reformulated OxyContin could still be readily abused by those who

  became addicted to it, perception of the drug could still lead to a shift to other opioids by those

  intending to obtain them for non-medical purposes. In other words, OxyContin was less

  attractive to unethical prescribers and on-medical users because it was harder to tamper with to

  allow it be snorted or injected – or less desirable for an illicit market of those selling or abusing




                                                    25
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 30 of 82                                 PageID #: 38




  the product.29 That is why, in finally identifying potential pill mill prescribers in support of its

  application for a tamper-resistant indication for OxyContin, Purdue focused on prescribers whose

  sales of OxyContin had declined dramatically after the reformulation;30 it knew that those who

  stopped prescribing OxyContin after the reformulation were likely have been prescribing it

  illicitly, for abuse and diversion.

          81.      Nevertheless, McKinsey, having thoroughly studied Purdue’s reformulation, the

  FDA’s ER/LA REMS, and Purdue’s sales strategy, prescribers, and potential prescribers,

  proposed that Purdue “turbocharge” OxyContin sales by intensifying its marketing efforts on the

  highest-volume prescribers, without addressing whether those prescribers may be engaged in

  abuse and diversion. It is well known that one key red flag of potential diversion is the volume

  of opioids prescribed, particularly relative to the prescriber’s area of specialty. The first bullet

  point of Purdue’s 2007 “Observations and Activities Requiring an [Abuse, Diversion, and

  Detection] Report” was “[a]n apparent pattern of an excessive number of patients for the

  practice type[.]” Thus, McKinsey knew or should have known that there was a higher risk of

  abuse and diversion among high-volume prescribers.

          82.      Though it focused on expanding the volume of the highest-risk prescribers,

  McKinsey’s proposal was later referred to, without irony, as the “Evolve to Excellence”

  initiative or “E2E.”

          83.      McKinsey found that Purdue did not “focus on the highest potential docs,”

  measured both by the number of prescriptions and reimbursement considerations. One


  29
     A 2013 article presented by Purdue employees based on review of data from poison control centers, concluded
  that ADF OxyContin can reduce abuse, but that this abuse merely shifted to other drugs and that, when the actual
  incidence of harmful exposures was calculated, there were more harmful exposures to opioids (including heroin)
  after the reformulation of OxyContin.
  30
     https://www.accessdata.fda.gov/drugsatfda_docs/nda/2013/022272Orig1s014ODMemo.pdf at 8


                                                        26
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 31 of 82                                PageID #: 39




  McKinsey analyst urged McKinsey to recommend Purdue target “[l]iterally, at least all”

  prescribers in the top 20% of prescribers, “minus another few percent who are no sees[.]”

  McKinsey team lead Arnab Ghatak replied that “they probably have 20% no see[], but i’d also

  assume there are not many high writers that are no see.” (“No see” prescribers are prescribers

  who do not accept visits from pharmaceutical sales representatives. Thus, upon information and

  belief, McKinsey recognized that most of the highest volume prescribers, or “high writers” of

  prescriptions, were willing to entertain sales visits from sales representatives.)

          84.      As described above, one of the services McKinsey touted for Purdue concerned

  the use of data to help Purdue meet its goals. McKinsey’s analysis for the “E2E” proposal shows

  that it had detailed information from which it could discern, as could Purdue, whether a

  prescriber had problematic patterns suggesting operation as a “pill mill” — including a shift to

  other opioids after OxyContin’s reformulation. Yet, McKinsey urged Purdue to target, and seek

  to increase the prescribing of, all of these prescribers from whom it perceived Purdue could

  obtain greater profits.

          85.      Given the number of employees McKinsey had engaged in confidential

  communications with Purdue, it is possible McKinsey knew that, internally, a Purdue sales

  manager informed her supervisors in 2009 about a suspected pill mill in Los Angeles. The

  employee reported over email that when she visited the clinic with her sales representative, “it

  was packed with a line out the door, with people who looked like gang members,” and that she

  felt “very certain that this an organized drug ring[.]”31 She wrote, “This is clearly diversion.

  Shouldn’t the DEA be contacted about this?” Her supervisor at Purdue, however, responded that

  while they were “considering all angles,” it was “really up to [the wholesaler] to make the

  31
    Harriet Ryan et al., More Than 1 Million OxyContin Pills Ended Up in the Hands of Criminals and Addicts. What
  the Drugmaker Knew, Los Angeles Time (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.


                                                        27
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 32 of 82                         PageID #: 40




  report.”32 This pill mill was the source of 1.1 million pills trafficked from California to Everett,

  Washington, a city of around 100,000 people. Purdue waited until after the clinic was shut down

  in 2010 to inform the authorities. Later, in 2016, the L.A. Times ran a story detailing this

  conduct, which would have been available to McKinsey.

             86.   As part of Project Turbocharge, McKinsey concluded that there existed a

  “significant opportunity to improve sales through better targeting.”

             87.   “Better targeting” meant focusing sales calls on extremely high-volume opioid

  prescribers. “To put this in perspective,” McKinsey stated, “the average prescriber in decile 5-10

  [the top half of prescribers by volume] writes 25x as many OC scripts as a prescriber in decile 0-

  4. In Q1 2013 the majority (52%) of OxyContin primary calls were made to decile 0-4

  prescribers. Including the secondary calls, 57% of the primary detail equivalents (PDEs) were

  made to decile 0-4 prescribers. Best practice in the industry is over 80% of effort on higher value

  prescribers.” McKinsey concluded: “Given that there are 14,000 uncalled physicians in deciles

  5-10, there is significant opportunity to shift calls to higher potential prescribers.”

             88.   “Better targeting” also meant removing sales representative discretion with

  respect to call plans. McKinsey explained that “it appears that the degree of flexibility may be

  allowing the field to trade off higher value prescribers for lower ones. Purdue should re-evaluate

  the optimal degree of freedom, which in turn could enable greater capture of benefits from

  adjustments to reach and targeting.”

             89.   To slow or reverse the decline in OxyContin sales, McKinsey recommended a

  shift to “value deciles,” which purported to weight prescribers according to factors including

  overall opioid prescriptions, including the number of branded versus generic prescriptions;


  32
       Id.


                                                    28
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 33 of 82                      PageID #: 41




  prescriber rules in place limiting sales calls; managed care access; and the number of the

  prescribers new to brand prescriptions, including new opioid patients and switches from other

  opioid products. The cumulative effect of the value rankings was to shift detailer emphasis onto

  the highest-volume prescribers. Further, McKinsey’s analysis found that the highest-volume

  prescribers were themselves most influenced by detail visits.

          90.     The core objective of McKinsey’s E2E initiative, also known as “Turbocharging

  the Sales Engine” or “Project Turbocharge,” was to ensure that Purdue was “making calls on the

  highest potential customers with the right frequency to maximize prescribing potential.”

          91.     McKinsey’s “turbocharging” plan also had other elements. Overall, it would be a

  “transformative journey” to “[i]ncrease [sales representative] productivity on OxyContin and

  explore ways to increase time in the field” as well as consider incentive compensation changes to

  “match OxyContin prioritization.” In that regard, incentive compensation would also be

  “revise[d] . . . to align with front line initiatives and sales targets.”

          92.     Meanwhile, McKinsey would have understood from its ongoing relationship,

  including prior work and review of Purdue’s materials for purposes of this plan, that the

  prescribers targeted by this effort to increase sales would be receiving Purdue’s deceptive

  messages downplaying the risks of opioids and overstating their benefits.

          93.     Purdue, like McKinsey, recognized that the initiative was no small thing. An

  internal Purdue email states that “much of this will be transformational in nature and require

  significant effort to develop, implement and fully execute on.”

          94.      McKinsey asked Purdue’s Board to “make a clear go-no go decision to

  ‘Turbocharge the Sales Engine,’” meaning implementing McKinsey’s plan.




                                                      29
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 34 of 82                       PageID #: 42




         95.     Purdue’s Board, especially members of the Sackler family, were “extremely

  supportive” of McKinsey’s recommendations to target high prescribers, and gave a “ringing

  endorsement” of “moving forward fast.”

         96.     Both Purdue and McKinsey worked together to implement “Turbocharging the

  Sales Engine. Purdue’s OxyContin brand team modified the “Individualize the Dose” Core

  Visual Aid used in detail visits to “be more in line with the recommendations provided by the

  McKinsey Report,” including emphasis on “dosage adjustment,” i.e., encouraging high

  prescribing.

         97.     McKinsey and Purdue also worked together on an “implementation plan” for

  E2E, with McKinsey taking on the role of “executive oversight” of projects including the

  creation of target lists, internal dashboards to track progress, and changes to Purdue’s incentive

  compensation plan consistent with E2E.

     E. McKinsey’s Turbocharging Program Successfully Increased Purdue’s Profits, and
        Opioid Sales, Through Deceptive Marketing and Turning a Blind Eye to Potential
        Diversion.

         98.     The “Turbocharging” program was successful for Purdue and McKinsey.

  Purdue’s CEO John Stewart noted in an email to board member Dr. Kathe Sackler in December

  2013 that “trends are more positive than was the case a few months back, and when the E2E

  Project (the changes arising out of the McKinsey analysis) is fully implemented there will

  certainly be additional increases.”

         99.     Later that month, Purdue Chief Financial Officer Ed Mahony reported that Project

  Turbocharge was already showing positive results. All sales representatives received a memo on

  December 23, 2013, identifying how to select “SuperCore” prescribers, or the top 10 targets, in

  their territory according to the E2E high prescribing principles and required that each SuperCore


                                                  30
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 35 of 82                       PageID #: 43




  prescriber be visited at least twice a month. In January 2014, Purdue approved the E2E target

  programs at a meeting with McKinsey consultants present, including requiring a minimum of

  three calls per day of prescribers in the “SuperCore/Core” categories. As part of these changes,

  McKinsey’s plan involved more minimum sales calls overall.

         100.    By 2014, Purdue had an additional $71 million in sales as a result of Project

  Turbocharge, and Mahoney reported to the Board that the effort “has resulted in significant

  improvement.” A July 2014 analysis found that of the 200 prescribers who most increased

  prescriptions, 190 were targeted under E2E.

         101.    In 2017, McKinsey “disassembled” Purdue’s sales force when Purdue’s then-

  CEO Craig Landau acknowledged that “too many Rxs [were] being written” at “too high a dose”

  and “for too long,” for “conditions that don’t require them,” and by prescribers who did not have

  “the requisite training in how to do them appropriately.” McKinsey was a party to all these

  problems—having advised Purdue from 2008 to 2013 to sell more opioids, to sell higher dose

  opioids, and to sell opioids to higher volume prescribers at greater risk of abuse and diversion,

  and having helped Purdue avoid mandatory prescriber education about the risks of opioids.

  Landau noted the sales force’s disassembly represented “the changes we should have done 5

  years ago”—or before McKinsey in 2013 recommended turbocharging OxyContin sales through

  the E2E initiative.

         102.    Project Turbocharge targeted for increased visits prescribers who should have

  raised red flags of potential diversion.

         103.    Targets outside of Hawaii reveal the same pattern. Dr. Kaniz Khan-Jaffrey of

  Abescon, New Jersey, a neurologist in Decile 10, increased his prescribing of OxyContin by

  nearly 40% under E2E. In 2018, the DEA issued an Order to Show Cause and Immediate



                                                  31
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 36 of 82                                  PageID #: 44




  Suspension Order to Dr. Khan-Jaffrey over concerns her DEA registration “constituted an

  immediate danger to the public health and safety,” finding she prescribed opioids without a

  legitimate medical purpose and disregarded urine screens indicating abuse and diversion.33 Dr.

  Khan-Jaffrey’s DEA registration was fully revoked on July 28, 2020.34 Dr. Louis Spagnoletti, of

  Marlton, New Jersey, another Decile 10 prescriber who increased his prescribing by 40% from

  lost his state license to prescribe controlled substances in 2018. Similarly, Dr. Vivienne

  Matalon, a Decile 10 prescriber from Cherry Hill, New Jersey, whose prescribing increased more

  than 300%, went on to lose her license in 2018 as well, for allegedly receiving kickbacks to

  prescribe the fentanyl drug Subsys to three patients, one including one that died. Another

  prescriber, Dr. Damon Cary of Wilmington, Delaware, a Decile 9 prescriber whose OxyContin

  prescriptions more than doubled under E2E, received an emergency suspension order in 2019

  after prescribing controlled substances, including opioids, to undercover officers without

  performing any medical examinations. Dr. Eva Dickinson, of Harrington, Delaware, a Decile 10

  prescriber, whose prescriptions of OxyContin increased over 20% under E2E, was arrested on

  marijuana charges in 2016 and had her license suspended in 2017 for sharing drugs, including

  opioids, with her patients. Dr. Michael Cozzi of Fort Wayne, Indiana, a Decile 10 prescriber,

  whose prescriptions of OxyContin increased by over 400% under E2E, had his medical license

  suspended in 2016, where he had prescribed more controlled substances than any other Indiana

  prescriber, with over 2 million doses of oxycodone, reportedly seeing 90-100 patients a day. Dr.

  Jamie Gurrero, a Decile 10 prescriber from Jeffersonville, Indiana, whose OxyContin’s

  prescriptions increased by more than 25% under E2E was sentenced to 100 months in prison in



  33
       https://www.federalregister.gov/documents/2020/07/29/2020-16387/kaniz-f-khan-jaffery-md-decision-and-order
  34
       Id.


                                                          32
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 37 of 82                                       PageID #: 45




  2016 after pleading guilty to “unlawful distribution or dispensing of controlled substances, health

  care fraud, conspiracy, and money laundering.”35

           104.     In its 2020 criminal plea, Purdue acknowledged that from 2007 through February

  2018, it failed to maintain effective controls against diversion of OxyContin by failing to report

  and provide complete information to the DEA of prescribers its internal anti-diversion programs

  indicated should have been placed on Purdue’s Region Zero or no-call list. In some cases,

  Purdue continued to visit, or “detail” these prescribers, to encourage them to prescribe Purdue

  opioids or to provide them with savings cards that would reduce patient co-pays or other costs.

  As part of the 2020 plea, the parties agreed to a criminal fine in the amount of $3.544 billion and

  a forfeiture judgment in the amount of $2 billion.36

           105.     Troublingly, a number of the prescribers targeted by McKinsey’s Project

  Turbocharge are nurse practitioners or family doctors. Misrepresentations to these prescribers

  were especially insidious because they were aimed at general practitioners who lack the time and

  expertise to closely manage higher-risk patients on opioids.

       F. McKinsey’s Turbocharging Initiative Also Advised Purdue to Circumvent
          Increased Safeguards on Abuse and Diversion of OxyContin.

           106.     In its August 8, 2013 Board report, McKinsey also attributed the decline in

  OxyContin sales to safeguards to limit suspicious opioid sales. McKinsey informed Purdue that

  “[t]he retail channel, both pharmacies and distributors, is under intense scrutiny and direct risk.”


  35
     https://www.justice.gov/usao-wdky/pr/kentuckiana-anesthesiologist-sentenced-100-months-unlawful-distribution-
  controlled
  36
     Earlier, in August of 2015, Purdue entered into an Assurance of Discontinuance disclosed that the New York
  Attorney General had found that Purdue placed 103 New York health care providers on its No-Call List between
  January 1, 2008 and March 7, 2015, and that Purdue’s sales representatives had detailed approximately two-thirds of
  these providers, some quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year
  period . . . .” Attorney General of the State of New York, In the Matter of Purdue Pharma L.P., Assurance No.: 15-
  151, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15 at 5. That document is publicly
  available online.


                                                           33
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 38 of 82                     PageID #: 46




  “There are reports of wholesalers stopping shipments entirely to an increasing number of

  pharmacies,” “[m]any wholesalers are also imposing hard quantity limits on orders based on

  prior purchase levels,” and “[p]harmacy chains are implementing guidelines for which patients

  can fill opioid prescriptions[.]” McKinsey advised that “deep examination of Purdue’s available

  pharmacy purchasing data shows that Walgreens has reduced its units by 18%.” McKinsey

  urged Purdue’s leadership to lobby Walgreens’ “senior level” leaders to loosen restrictions,

  imposed in the wake of DEA action against the chain. Later, McKinsey would observe that

  following a decline corresponding with Walgreens’s “Good Faith Dispensing” implementation,

  from December 2013 to March 2014, Walgreens monthly purchasing had increased 8%.

         107.    McKinsey’s E2E initiative also included ways to circumvent these safeguards.

  McKinsey recommended that the sales force distribute vouchers and “starter kits” for patients

  who faced co-pays for OxyContin prescriptions. In particular, McKinsey recommended

  dispensing vouchers to outlets of a specific large national pharmacy chain where prescriptions

  and OxyContin inventories were down. This chain, as part of its own settlement with the U.S.

  Drug Enforcement Administration, had removed pharmacist bonuses for dispensing opioids.

     G. McKinsey Knew OxyContin Was Highly Abusable, Addictive, and Dangerous and
        that Its Marketing Strategies Thus Increased These Dangers.

         108.    McKinsey knew that OxyContin was highly abusable, addictive, and dangerous

  at all times it worked with Purdue from 2008 to 2013 to boost sales of OxyContin, encourage

  sales of higher doses of OxyContin, and target the highest-volume opioids prescribers.

         109.    McKinsey was well aware of the risks of OxyContin based on its extensive

  experience in the pharmaceutical industry, close collaboration with Purdue, and participation in

  the regulatory submissions for reformulated OxyContin.




                                                 34
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 39 of 82                       PageID #: 47




          110.       In an August 2017 presentation, McKinsey recognized that the opioid epidemic

  was “triggered, in large part, by a massive increase in prescribed opioids in the early 2000’s.”

          111.       McKinsey knew that the original OxyContin was widely abused and that post-

  reformulation, many former OxyContin users migrated to heroin.

          112.       McKinsey also knew that reformulated OxyContin was still subject to abuse,

  having worked on the submission for the reformulated product. Indeed, in 2011, post-

  reformulation, McKinsey proposed that Janssen, another opioid manufacturer client, differentiate

  its Nucynta opioid from OxyContin on the basis of prescribers’ concerns about OxyContin’s

  abuse liability.

      H. McKinsey, Like Purdue, Attempted to Portray Itself as Part of the Solution While
         Concealing Its Role in the Opioid Epidemic.

          113.       McKinsey’s work on the other side of the aisle—helping clients address opioid

  abuse and addiction—further proves that it was well aware of the risks of OxyContin, and thus

  the risks of pushing OxyContin sales and high dose sales, and targeting the highest-volume

  prescribers. McKinsey advised Purdue on “Project Tango,” a 2014 plan to enter the addiction

  drug market. McKinsey noted the “addiction market” reached the billions and advised that

  “Purdue is uniquely positioned to overcome the underlying barriers to treatment[.]”

          114.       In August 2017, McKinsey prepared a presentation entitled “Perspectives on

  Combatting the Opioid Crisis,” which referenced its work on combatting opioid addiction for

  various other entities:




                                                    35
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 40 of 82                     PageID #: 48




         115.    In June 2018, McKinsey published a public report, “Ten insights on the Opioid

  crisis from claims data analysis,” stating information about the risks of opioids that McKinsey

  knew while advising Purdue to sell more opioids and higher dose opioids, and target the highest-

  volume prescribers:

                 a. “[P]roviders frequently prescribe opioids to patients with known or potential
                    risk factors for abuse[;]”

                 b. Approximately 35% of the patients given opioid prescriptions in our analysis
                    had features that put them at increased risk for opioid abuse[;]”

                 c. Most opioids are prescribed by providers other than the natural ‘quarterback’
                    of a patient’s underlying complaint or condition.” … “This finding makes
                    clear that high-dose prescribers and multi-prescriber patterns are separate
                    issues—and both are important to address[;]” and




                                                 36
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 41 of 82                                   PageID #: 49




                   d. “[A] small portion of opioid use originates in emergency departments”37

          116.     Meanwhile, McKinsey had been using its data analytics for a different purpose as

  well. McKinsey knew that high dose OyxContin prescriptions carried a serious risk of overdose.

  In 2017, over half of Purdue’s opioids prescriptions exceeded the 90 mg morphine equivalence

  threshold a day – the recommended maximal dose per the 2016 CDC Guideline for Prescribing

  Opioids for Chronic Pain. In November 2017, McKinsey recommended to Purdue ways to

  circumvent programs and initiatives by third party payors and other stakeholders to reduce

  opioid overdoses, which threatened Purdue’s reliance on high dose OxyContin prescriptions.

  This presentation to Purdue, “High impact interventions to rapidly address market access

  challenges,” recommended that Purdue treat OxyContin overdoses as a cost of doing business

  and offer to pay rebates for prescriptions above MME limits as well as rebates per OUD/OD

  incident.”




  37
     https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/ten-insights-on-the-us-opioid-
  crisis-from-claims-data-analysis


                                                         37
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 42 of 82                           PageID #: 50




          117.    McKinsey provided estimates for the future costs of these “events” (which it

  defined as the “first occurrence for overdose or opioid use disorder”). McKinsey noted that, if

  Purdue were to start making overdose payments, it would “need to determine which payment

  amount is optimal,” and suggested a “meaningful” amount, which, according to McKinsey,

  would be somewhere between six and fifteen thousand dollars for each person who overdoses or

  develops opioid-use disorder as a result of Purdue’s drugs.

          118.    McKinsey proposed a rebate of $7,000 per overdose:




          119.    McKinsey’s analysis also suggested that it could predict the number of people

  who would become addicted to opioids or overdose on pills sold through Purdue’s downstream

  customers. McKinsey “projected that in 2019, for example, 2,484 CVS customers would either

  have an overdose or develop an opioid use disorder.”38




  38
     Walt Bogdanich and Michael Forsythe, McKinsey Proposed Paying Pharmacy Companies Rebates for OxyContin
  Overdoses,      N.Y.      Times        (Nov.     27,      2020,      updated       Dec.   17,      2020),
  https://www.nytimes.com/2020/11/27/business/mckinsey-purdue-oxycontin-opioids.html


                                                     38
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 43 of 82                          PageID #: 51




           120.   Just months after proposing such payments to Purdue, in July of 2018, Martin

  Elling of McKinsey wrote to Arnab Ghatak regarding lawsuits naming a Purdue outside director

  as a defendant, recommending that they “have a quick conversation with the risk committee to

  see if we should be doing anything other than eliminating all our documents and emails.”




  As reflected in the e-mails, their concern at this time was protecting McKinsey, not helping

  victims of their marketing plans. Upon information and belief, McKinsey undertook efforts to

  conceal its participation in unfair and deceptive marketing by destroying electronic and physical

  files.

           121.   McKinsey announced in 2019 that it “would not advise any clients worldwide on

  opioid-specific business.”39




  39
    Walt Bogdanich and Michael Forsythe, McKinsey Proposed Paying Pharmacy Companies Rebates for OxyContin
  Overdoses, N.Y. Times (Nov. 27, 2020), https://www.nytimes.com/2020/11/27/business/mckinsey-purdue-
  oxycontin-opioids.html


                                                    39
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 44 of 82                             PageID #: 52




       I. By Increasing Opioid Prescriptions and Use, McKinsey Fueled the Opioid Epidemic
          Alongside its Clients.

          122.    The deceptive marketing strategies McKinsey developed and helped to implement

  worked, as described above. Deceptive marketing, including marketing McKinsey worked to

  develop and implement, substantially contributed to an explosion in the use of opioids across the

  country. Approximately 20% of the population between the ages of 30 and 44, and nearly 30%

  of the population over 45, have used opioids. Opioids are the most common treatment for

  chronic pain, and 20% of office visits now include the prescription of an opioid.

          123.    Studies have concurred with McKinsey’s conclusions that detailing is effective.

  Numerous studies indicate that marketing impacts prescribing habits, with face-to-face detailing

  having the greatest influence.

          124.    In particular, the effects of sales calls on prescribers’ behavior is well-documented

  in the literature, including a 2009 study correlating the nearly ten-fold increase in OxyContin

  prescriptions between 1997 and 2002 to Purdue’s doubling of its sales force and trebling its sales

  calls.40 A 2017 study found that physicians ordered fewer promoted brand-name medications

  and prescribed more cost-effective generic versions if they worked in hospitals that instituted

  rules about when and how pharmaceutical sales representatives were allowed to detail

  prescribers.41 The changes in prescribing behavior appeared strongest at hospitals that

  implemented the strictest detailing policies and included enforcement measures. Another study

  involved the research of four different practices which included visits by sales representatives,

  medical journal advertisements, direct-to-consumer advertising, and pricing, and found that sales


  40
     Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99 Am.
  J. Pub. Health 221–227 (2009).
  41
      Ian Larkin et al., Association Between Academic Medical Center Pharmaceutical Detailing Policies and
  Physician Prescribing, 317 J. Am. Med. Ass'n 1785 (2017).


                                                      40
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 45 of 82                           PageID #: 53




  representatives have the strongest effect on driving drug utilization. An additional study found

  that doctor meetings with sales representatives are related to changes in doctor prescribing

  practices and requests by physicians to add the drugs to hospitals’ formularies.

          125.    At the time McKinsey engaged in the misconduct described in this Complaint, the

  addictive potential of prescription opioids and the need for restraint in their use was widely

  understood, as was the likelihood of large-scale opioid addiction, abuse, overdoses, illness, and

  early death resulting from sharply increased use.

          126.    In fact, the Supreme Court has observed the obvious potential for marketing

  campaigns for controlled substances to foster black markets. See also Direct Sales Co., 319 U.S.

  703, 712 (1943) (“Mass advertising and bargain counter discounts are not appropriate to

  commodities so surrounded with restrictions. They do not create new legal demand and new

  classes of legitimate patrons, as they do for sugar, tobacco and other free commodities. Beyond

  narrow limits, the normal legal market for opiates is not capable of being extended by such

  methods. The primary effect is rather to create black markets for dope and to increase illegal

  demand and consumption.”).

          127.    Representing the NIH’s National Institute of Drug Abuse in hearings before the

  Senate Caucus on International Narcotics Control in May 2014, Dr. Nora Volkow explained that

  “aggressive marketing by pharmaceutical companies” is “likely to have contributed to the

  severity of the current prescription drug abuse problem.”42

          128.    In August 2016, U.S. Surgeon General Vivek Murthy published an open letter to

  physicians nationwide, enlisting their help in combating this “urgent health crisis” and linking


  42
     “America’s Addiction to Opioids: Heroin and Prescription Drug Abuse,” Senate Caucus on Int’l Narcotics
  Control,    hr’g,   Testimony       of    Dr.      Nora    Volkow    (May    14, 2014)    available    at
  http://www.drugcaucus.senate.gov/sites/default/files/Volkow%20Testimony.pdf.


                                                      41
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 46 of 82                            PageID #: 54




  that crisis to deceptive marketing. He wrote that the push to aggressively treat pain, and the

  “devastating” results that followed, had “coincided with heavy marketing to doctors . . . . [m]any

  of [whom] were even taught—incorrectly—that opioids are not addictive when prescribed for

  legitimate pain.”43

             129.        Compounding the harms from deceptive marketing, McKinsey’s strategy, and

  implementation, also expanded Purdue’s role in supplying opioids beyond even what an

  expanded market could bear, even seeking to increase the sales from prescribers who would have

  raised red flags of potential diversion, and profiting from Purdue’s role in funneling opioids into

  Hawaii, and Plaintiff’s community, beyond what any legitimate market, even an expanded

  market for chronic pain, could bear.

             130.        McKinsey performed its own research in evaluating the anticipated effects of

  Project Turbocharge. An April 2014 implementation update observed an increase in sales calls,

  as well as that “OxyContin HCPs [health care providers] with increased calls consistently

  outperform HCPs with decreasing or no change in call frequency.”

             131.        McKinsey’s Project Turbocharge called for Purdue to double its promotional

  spending. At the time of McKinsey’s first known work for Purdue, Purdue spent approximately

  $5 million per quarter on sales and marketing. By the time McKinsey’s Project Turbocharge had

  been implemented, total quarterly sales and marketing spending at Purdue exceeded $45 million

  per quarter, an increase of 800%.

             132.        Scientific evidence demonstrates a close link between opioid prescriptions and

  opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic




  43
       See n.7, supra.


                                                         42
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 47 of 82                                PageID #: 55




  exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”44 McKinsey

  evidently understands this. In a September 2016 on-line article, McKinsey asserts that “[t]here is

  no doubt that more consistent use of best practices—across geographic areas, institutions, and

  clinicians—would provide tremendous help in combating the crisis” and describes certain

  examples of such practices as “successful in reducing prescribing.”45

          133.     There is a “parallel relationship between the availability of prescription opioid

  analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

  associated adverse outcomes.”46 The opioid epidemic is “directly related to the increasingly

  widespread misuse of powerful opioid pain medications.”47

          134.     In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

  quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

  opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons,

  the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical

  “to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”48

          135.     Compounding the harm from deceptive marketing, McKinsey worked with

  Purdue to continue and grow the opioid sales of prescribers that raised red flags of diversion,

  despite Purdue’s legal obligations to report and halt supply. In doing so, it enabled an

  oversupply of opioids, which allows non-patients to become exposed to opioids, and facilitates



  44
     Theodore J Cicero et al., Relationship Between Therapeutic Use and Abuse of Opioid Analgesics in Rural,
  Suburban, and Urban Locations in the United States, 16.8 Pharmacoepidemiology and Drug Safety, 827-40 (2007).
  45
      https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/why-we-need-bolder-action-
  to-combat-the-opioid-epidemic
  46
     Dart, MD, et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, New Engl. J. Med.,
  372:241-248 (Jan. 15, 2015).
  47
     Califf, MD, et al., A Proactive Response to Prescription Opioid Abuse, New Engl. J. Med. (Apr. 14, 2016).
  48
     CDC, January 1, 2016 Morbidity and Mortality Weekly Report; Rudd, Rose A., et al. "Increases in drug and
  opioid overdose deaths—United States, 2000–2014." American Journal of Transplantation 16.4 (2016): 1323-1327.


                                                        43
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 48 of 82                                PageID #: 56




  access to opioids for both patients who could no longer access or afford prescription opioids and

  addicts struggling with relapse.

          136.     Indeed, the Supreme Court has long recognized the inherent causal relationship

  between diversion of opioids and harm to the public. Direct Sales Co., 319 U.S. at 710-11 (“The

  difference between sugar, cans, and other articles of normal trade, on the one hand, and narcotic

  drugs, machine guns and such restricted commodities, on the other, aris[es] from the latters’

  inherent capacity for harm and from the very fact they are restricted . . . .”).

          137.     Most of the illicit use originates from prescribed opioids. It has been estimated

  that 60% of the opioids that are abused come, directly or indirectly, through physicians’

  prescriptions.

          138.     As McKinsey itself has recognized in citing a study reaching this conclusion,

  roughly 80% of heroin users previously used prescription opioids.49

          139.     In fact, people who are addicted to prescription opioid painkillers are 40 times

  more likely to be addicted to heroin. The CDC identified addiction to prescription pain

  medication as the strongest risk factor for heroin addiction. A more recent, and even more

  deadly problem stemming from the prescription opioid epidemic involves fentanyl—a powerful

  opioid prescribed for cancer pain or in hospital settings that, in synthetic form, has made its way

  into Hawaii community.

          140.     Carfentanil, a powerful derivative of fentanyl, has increasingly been found in

  heroin and fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary

  medicine to sedate large wild animals such as elephants, and has been researched as a chemical

  weapon. A dose the size of a grain of salt can rapidly lead to deadly overdose in humans. In

  49
      https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/why-we-need-bolder-action-
  to-combat-the-opioid-epidemic


                                                        44
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 49 of 82                       PageID #: 57




  July of 2016, Akron, for example, saw 236 overdose cases in just 21 days, with at least 14

  fatalities suspected to be linked to carfentanil.

          141.    No demographic is untouched by this epidemic. Nationally, one in five deaths

  among younger adults in 2016 involved opioids, according to one study. And, deaths involving

  both prescription and illicit opioids have risen sharply, nearly doubling since 2009.

          142.    Opioid addiction and misuse also result in an increase in emergency room visits,

  emergency responses, and emergency medical technicians’ administration of Narcan or

  naloxone—the antidote to opioid overdose. Once addicted, people working to recover may

  struggle with their addiction their entire lives.

          143.    Opioid addiction is now the primary reason that Hawaiians seek substance abuse

  treatment.

          144.    Opioids have caused injury and illness in Plaintiff’s community in other respects

  as well. An increase in Hepatitis C, according to the CDC, is directly tied to intravenous

  injection of opioids.

          145.    The deceptive marketing, overprescribing, and oversupply of opioids also had a

  significant detrimental impact on children. Young children have access to opioids, nearly all of

  which were prescribed or supplied to adults in their household. If parents become addicted and

  turn to illicit opiates, children risk overdose from these drugs as well.

          146.    Even infants have not been immune to the impact of opioid abuse. There has

  been a dramatic rise in the number of infants who are born addicted to opioids due to prenatal

  exposure and suffer from neonatal abstinence syndrome (“NAS,” also known as neonatal opioid

  withdrawal syndrome, or “NOWS”). These infants painfully withdraw from the drug once they

  are born, cry nonstop from the pain and stress of withdrawal, experience convulsions or tremors,



                                                      45
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 50 of 82                         PageID #: 58




  have difficulty sleeping and feeding, and suffer from diarrhea, vomiting, and low weight gain,

  among other serious symptoms. The long-term developmental effects are still unknown, though

  research in other states has indicated that these children are likely to suffer from continued,

  serious neurologic and cognitive impacts, including hyperactivity, attention deficit disorder, lack

  of impulse control, and a higher risk of future addiction. When untreated, NAS can be life-

  threatening. In 2009, more than 13,000 infants in the United States were born with NAS, or

  about one every hour.

          147.      This dramatic rise in NAS may be described as an epidemic within an epidemic.

          148.      Rising opioid use and abuse have negative social and economic consequences far

  beyond overdoses in other respects as well. According to an analysis by a Princeton University

  economist, approximately one out of every three working-age men who are not in the labor force

  take daily prescription pain medication. The same research finds that opioid prescribing alone

  accounts for 20% of the overall decline in the labor force participation for this group from 2014-

  16, and 25% of the decline in labor force participation among women. Many of those taking

  painkillers still said they experienced pain daily.

                                      VI.    CAUSES OF ACTION

                                FIRST CAUSE OF ACTION
                         COMMON LAW ABSOLUTE PUBLIC NUISANCE

          149.      Plaintiff realleges and incorporates herein by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged in this Count.

          150.      McKinsey created and maintained a public nuisance which proximately caused

  injury to Plaintiff.

          151.      A public nuisance is an unreasonable interference with a right common to the

  general public.


                                                     46
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 51 of 82                       PageID #: 59




         152.    McKinsey has created and maintained a public nuisance by developing and

  implementing deceptive marketing strategies and efforts to boost opioid sales in ways that

  unreasonably interfere with the public health, welfare, and safety in Plaintiff’s community, and

  Plaintiff and its residents have a common right to be free from such conduct and to be free from

  conduct that creates a disturbance and reasonable apprehension of danger to person and property.

         153.    The public nuisance is an absolute public nuisance because McKinsey’s nuisance-

  creating conduct was intentional and unreasonable and/or violated statutes which established

  specific legal requirements for the protection of others.

         154.    McKinsey has created and maintained an absolute public nuisance through its

  participation in the deceptive marketing of opioids, which are dangerously addictive drugs, and

  efforts to boost opioid sales without regard to whether those sales were legitimate, in a manner

  which caused prescriptions and sales of opioids to skyrocket in Plaintiff’s community,

  contributed to the oversupply of opioids in Plaintiff’s community, and facilitated and encouraged

  the flow and diversion of opioids into an illegal, secondary market, resulting in devastating

  consequences to Plaintiff and its residents.

         155.    McKinsey knew, and has known, that its intentional, unreasonable, and unlawful

  conduct would cause, and has caused, opioids to be used and possessed illegally and that its

  conduct has produced an ongoing nuisance that has had, and will continue to have, a detrimental

  effect upon the public health, welfare, safety, peace, comfort, and convenience of Plaintiff and its

  residents.

         156.    McKinsey’s conduct has created an ongoing, significant, unlawful, and

  unreasonable interference with rights common to the general public, including the public health,




                                                   47
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 52 of 82                        PageID #: 60




  welfare, safety, peace, comfort, and convenience of Plaintiff’s community. See Restatement

  (Second) of Torts § 821B.

         157.    The interference is unreasonable because McKinsey’s nuisance-creating conduct:

                  a.       Involves a significant interference with the public health, the public
                           safety, the public peace, the public comfort, and/or the public
                           convenience;

                  b.      At all relevant times was and is proscribed by state and/or federal laws
                          and regulations; and/or
                  c.      Is of a continuing nature and, as Defendants know, has had and is
                          continuing to have a significant effect upon rights common to the
                          general public, including the public health, the public safety, the public
                          peace, the public comfort, and/or the public convenience.

         158.    The significant interference with rights common to the general public is described

             in detail throughout this Complaint and includes:

                  a.      The creation and fostering of an illegal, secondary market for
                          prescription opioids;

                  b.      Easy access to prescription opioids by children and teenagers;

                  c.      A staggering increase in opioid abuse, addiction, overdose, injuries,
                          and deaths;

                  d.      Infants being born dependent on opioids due to prenatal exposure,
                          causing severe withdrawal symptoms and lasting developmental
                          impacts;

                  e.      Employers have lost the value of productive and healthy employees; and

                  f.      Increased costs and expenses for Plaintiff relating to healthcare
                          services, law enforcement, the criminal justice system, social
                          services, and education systems.

         159.    McKinsey, in a joint effort with and on behalf of, Purdue, intentionally and

  unreasonably and/or unlawfully marketed and participated in Purdue pushing as many opioids

  onto the market as possible, fueling addiction to and diversion of these powerful narcotics,

  resulting in increased addiction and abuse, an elevated level of crime, death and injuries to the

                                                  48
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 53 of 82                         PageID #: 61




  residents of Plaintiff’s community, a higher level of fear, discomfort and inconvenience to the

  residents of Plaintiff’s community, and direct costs to Plaintiff.

         160.    McKinsey is liable for creating the public nuisance because its intentional and

  unreasonable and/or unlawful conduct was a substantial factor in producing the public nuisance

  and harm to Plaintiff.

         161.    A violation of any rule or law controlling the sale and/or distribution of a drug of

  abuse in Plaintiff’s community constitutes an absolute public nuisance.

         162.    In marketing of and efforts to boost sales of opioids in Hawaii and Plaintiff’s

  community, McKinsey violated federal law, including, but not limited to 18 U.S.C. § 2 and 21

  U.S.C. § 846 with respect to Purdue’s violation of 21 U.S.C.A. § 823 and 21 C.F.R. § 1301.74.

         163.    McKinsey’s unlawful nuisance-creating conduct includes aiding and abetting the

  violation of, and conspiracy with another to violate, federal and Hawaii statutes and regulations,

  including the controlled substances laws, by:

                 a.        Aiding, abetting, conspiring in, and expanding the distribution and sale of
                           opioids in ways that facilitated and encouraged their flow into the illegal,
                           secondary market;

                 b.        Aiding, abetting, conspiring in, and expanding the distribution and sale of
                           opioids without maintaining effective controls against the diversion of
                           opioids; and

                 c.        Aiding, abetting, conspiring in, and expanding distribution and sale of
                           opioids prescribed by “pill mills” when McKinsey knew or should have
                           known the opioids were being prescribed by “pill mills.”

         164.    McKinsey’s intentional and unreasonable nuisance-creating conduct, for which

  the gravity of the harm outweighs the utility of the conduct, includes:

                 a. Aiding, abetting, conspiring in, and expanding the distribution and sale of
                    opioids in ways that facilitated and encouraged their flow into the illegal,
                    secondary market;



                                                    49
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 54 of 82                        PageID #: 62




                 b. Aiding, abetting, conspiring in, and expanding the distribution and sale of
                    opioids without maintaining effective controls against the diversion of
                    opioids; and

                 c. Aiding, abetting, conspiring in, and expanding distribution and sale of opioids
                    prescribed by “pill mills” when McKinsey knew or should have known the
                    opioids were being prescribed by “pill mills.”

         165.    McKinsey intentionally and unreasonably aided, abetted, conspired in, and

  encouraged distribution and sale of opioids that it knew would be diverted into the illegal,

  secondary market and would be obtained by persons with criminal purposes.

         166.    McKinsey intentionally and unreasonably engaged in, and helped to increase the

  impact of, a deceptive marketing scheme that was designed to, and successfully did, change the

  perception of opioids and cause their prescribing and sales to skyrocket in Plaintiff’s community.

         167.    McKinsey intentionally and unreasonably misled Plaintiff, healthcare providers,

  and the public about the risks and benefits of opioids, including minimizing the risks of addiction

  and overdose and exaggerating the purported benefits of long-term use of opioids for the

  treatment of chronic pain.

         168.    McKinsey violated Hawaii and federal statutes and regulations by engaging in the

  deceptive marketing of opioids, as described in this Complaint.

         169.    McKinsey’s unfair, deceptive, and unconscionable acts and practices include, but

  are not limited to:

                        a. Engaging in untrue, false, unsubstantiated, and misleading marketing,
                           directly and with and through third parties in violation of 21 C.F.R. §
                           202.1(e), thereby causing opioid drugs to be misbranded;

                        b. Promoting other purported advantages of OxyContin, including but not
                           limited to improved function and quality of life in violation of FDA
                           regulations, including 21 C.F.R. § 202.1(e);

                        c. Promoting higher sales, higher dose sales, and targeting the highest
                           volume prescribers of a highly abusable, addictive, and dangerous drug;


                                                    50
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 55 of 82                      PageID #: 63




                     d. Promoting higher dose OxyContin prescriptions, known to pose greater
                        risks; and

                     e. Targeting the highest-prescribing physicians, without addressing whether
                        those prescribers may be engaged in abuse and diversion and should not
                        be targeted, to induce them to increase prescriptions of OxyContin further.

         170.    McKinsey worked to undermine public policy, enshrined by regulations contained

  in state and federal law, that is aimed at ensuring honest marketing and safe and appropriate use

  of pharmaceutical drugs.


         171.    McKinsey’s marketing strategies were also oppressive in fueling addiction and

  diversion of drugs specifically known to McKinsey to be dangerous because, inter alia, these

  drugs are defined under federal and state law as substances posing a high potential for abuse and

  addiction.

         172.    McKinsey’s conduct has caused substantial, indeed grievous, injury to consumers

  and the public. The staggering rates of opioid use, abuse, and addiction resulting from

  McKinsey’s marketing efforts and unfair acts and practices in profiting from illicit opioid use

  have caused substantial harm.

         173.    Indeed, opioids are akin to medical grade heroin. McKinsey’s wrongful conduct

  of deceptively marketing and pushing as many opioids onto the market as possible led directly to

  the public nuisance and harm to Plaintiff—exactly as would be expected when medical-grade

  heroin in the form of prescription opioids are deceptively marketed, flood the community, and

  are diverted into an illegal, secondary market.

         174.    McKinsey had control over its conduct in Plaintiff’s community and that conduct

  has had an adverse effect on rights common to the general public. McKinsey controlled its

  deceptive advertising and efforts to mislead the public, and also influenced acts and omissions by

  Purdue in detailing by sales representatives and other means described in this Complaint.

                                                    51
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 56 of 82                        PageID #: 64




  McKinsey also controlled its conduct in seeking to grow opioid sales to prescribers who raised red

  flags of diversion and orders it knew or should have known were likely to be diverted or fuel an

  illegal market.

           175.     It was reasonably foreseeable that McKinsey’s actions and omissions would result

  in the public nuisance and harm to Plaintiff described herein.

           176.     Because of McKinsey’s deceptive marketing of opioids and because of

  McKinsey’s conduct in connection with its opioid manufacturers’ special positions within the

  closed system of opioid distribution, without McKinsey’s actions, opioid use would not have

  become so widespread, and the enormous public health hazard of prescription opioid and heroin

  overuse, abuse, and addiction that now exists would have been averted.

           177.     The public nuisance created by McKinsey’s actions is substantial and

  unreasonable. It has caused and continues to cause significant harm to Plaintiff and the harm

  inflicted outweighs any offsetting benefit.

           178.     The externalized risks associated with McKinsey’s nuisance-creating conduct as

  described herein greatly exceed the internalized benefits.

           179.     As a direct and proximate result of McKinsey’s tortious conduct and the public

  nuisance created by McKinsey, Plaintiff has taken proactive measures to abate the public

  nuisance, and Plaintiff seeks to expand these efforts.

           180.     The nuisance created by McKinsey’s conduct is abatable.

           181.     McKinsey’s misconduct alleged in this case was ongoing and persistent for many

  years.

           182.     McKinsey’s misconduct alleged in this case does not concern a discrete event or

  discrete emergency of the sort a political subdivision would reasonably expect to occur, and is



                                                    52
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 57 of 82                          PageID #: 65




  not part of the normal and expected costs of a local government’s existence. Plaintiff alleges

  wrongful acts which are neither discrete nor of the sort a local government can reasonably

  expect.

            183.   In order to abate the public nuisance, Plaintiff has incurred expenditures for

  special programs over and above their ordinary public services.

            184.   Plaintiff seeks to abate the nuisance created by McKinsey’s unreasonable,

  unlawful, intentional, and persistent actions and omissions and unreasonable interference with

  rights common to the general public.

            185.   McKinsey’s tortious conduct was a substantial factor in creating the absolute

  public nuisance.

            186.   McKinsey’s tortious conduct was a substantial factor in producing harm to

  Plaintiff.

            187.   Plaintiff has suffered an indivisible injury as a result of McKinsey’s tortious

  conduct and that of the manufacturers with which it worked.

            188.   McKinsey acted with actual malice because McKinsey acted with a conscious

  disregard for the rights and safety of other persons, and said actions had a great probability of

  causing substantial harm.

            189.   Plaintiff seeks all equitable relief as allowed by law, including inter alia

  injunctive relief, restitution, disgorgement of profits, attorney fees and costs, and pre- and post-

  judgment interest.

                                    SECOND CAUSE OF ACTION
                                       CIVIL CONSPIRACY

            190.   Plaintiff realleges and incorporates herein by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged in this Count.

                                                     53
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 58 of 82                      PageID #: 66




         191.    McKinsey and Purdue engaged in a civil conspiracy in their unlawful marketing

  of opioids and/or efforts to boost the sale of opioids into Plaintiff’s community. McKinsey

  entered into an agreement with Purdue to increase the sales of OxyContin by unfair, deceptive,

  and unconscionable means, in violation of Hawaii and federal consumer protection and

  controlled-substances laws.

         192.    McKinsey and Purdue engaged in a civil conspiracy to commit fraud and

  misrepresentation in conjunction with their unlawful marketing of opioids and/or distribution of

  opioids into Plaintiff’s community.

         193.    McKinsey aided Purdue in unlawfully failing to act to prevent diversion and

  failing to monitor for, report, and prevent suspicious orders of opioids.

         194.    McKinsey aided Purdue in unlawfully marketing opioids in Plaintiff’s community

  in furtherance of that conspiracy.

         195.    McKinsey’s conspiracy and acts in furtherance thereof are alleged in detail in this

  Complaint, including, without limitation, in the public nuisance count and are specifically

  incorporated herein.

         196.    McKinsey’s overt acts in furtherance of this conspiracy include, but are not

  limited to, designing and implementing marketing messages that:

                 a. Comprised untrue, false, unsubstantiated, and misleading marketing, directly
                    and with and through third parties in violation of 21 C.F.R. § 202.1(e), thereby
                    causing opioid drugs to be misbranded;

                 b. Promoted other purported advantages of OxyContin, including but not limited
                    to improved function and quality of life in violation of FDA regulations,
                    including 21 C.F.R. § 202.1(e);

                 c. Promoted higher sales, higher dose sales, and targeting the highest volume
                    prescribers of a highly abusable, addictive, and dangerous drug;

                 d. Promoted higher dose OxyContin prescriptions, known to pose greater risks;
                    and

                                                   54
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 59 of 82                       PageID #: 67




                  e. Targeted the highest-prescribing physicians, without addressing whether those
                     prescribers may be engaged in abuse and diversion and should not be targeted,
                     to induce them to increase prescriptions of OxyContin further.

           197.   The conspiracy was the product of agreement with McKinsey and Purdue

  operating in close collaboration. When McKinsey’s role in the conspiracy threatened to be

  exposed, upon information and belief, it took efforts to conceal its participation by attempting to

  destroy inculpating emails and files.

           198.   McKinsey and Purdue acted with a common understanding or design to commit

  unlawful acts, as alleged herein, and acted purposely, without a reasonable or lawful excuse,

  which directly caused the injuries alleged herein.

           199.   McKinsey and Purdue acted with malice, purposely, intentionally, unlawfully,

  and without a reasonable or lawful excuse.

           200.   McKinsey’s conduct in furtherance of the conspiracy described herein was not

  mere parallel conduct because McKinsey encouraged Purdue to acted directly against its

  commercial interests in not reporting the unlawful practices of competitors to the authorities and

  also in seeking to avoid “strict” regulation.

           201.   McKinsey’s conspiracy, and McKinsey’s actions and omissions in furtherance

  thereof, caused the direct and foreseeable losses alleged herein.

           202.   McKinsey’s actions demonstrated both malice and also aggravated and egregious

  fraud. McKinsey engaged in the conduct alleged herein with a conscious disregard for the rights

  and safety of other persons, even though that conduct had a great probability of causing

  substantial harm. McKinsey’s fraudulent wrongdoing was done with a particularly gross and

  conscious disregard.

           203.   McKinsey’s misconduct alleged in this case was ongoing and persistent for many

  years.
                                                  55
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 60 of 82                          PageID #: 68




            204.   McKinsey’s misconduct alleged in this case does not concern a discrete event or

  discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

  not part of the normal and expected costs of a local government’s existence. Plaintiff alleges

  wrongful acts which are neither discrete nor of the sort a local government can reasonably

  expect.

            205.   Plaintiff has incurred expenditures for special programs over and above their

  ordinary public services.

            206.   Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

  injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

  all damages allowed by law to be paid by McKinsey, attorney fees and costs, and pre-and post-

  judgment interest.

                                     THIRD CAUSE OF ACTION
                                      UNJUST ENRICHMENT

            207.   Plaintiff realleges and incorporates herein by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged in this Count.

            208.   As an expected and intended result of its conscious wrongdoing as set forth in this

  Complaint, McKinsey has profited and benefited from its conspiracy with Purdue and the

  increase in the distribution and purchase of opioids within Plaintiff’s community, including from

  opioids foreseeably and deliberately diverted within and into Plaintiff’s community.

            209.   Unjust enrichment arises not only where an expenditure by one party adds to the

  property of another, but also where the expenditure saves the other from expense or loss.

            210.   Plaintiff has expended substantial amounts of money in an effort to remedy or

  mitigate the societal harms caused by McKinsey’s conduct.




                                                     56
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 61 of 82                      PageID #: 69




           211.   These expenditures include the provision of healthcare services and treatment

  services to people who use opioids.

           212.   These expenditures have helped sustain McKinsey’s businesses.

           213.   Plaintiff has conferred a benefit upon McKinsey by paying for McKinsey’s

  externalities: the cost of the harms caused by McKinsey’s improper practices and the marketing

  and distribution practices it created and helped to implement for Purdue.

           214.   McKinsey was aware of these obvious benefits, and their retention of the benefit

  is unjust.

           215.   Plaintiff has paid for the cost of McKinsey’s externalities and McKinsey has

  benefited from those payments because they allowed it to continue working with Purdue to profit

  from the sale of a high volume of opioid products. Because of its participation in the deceptive,

  unfair, and unconscionable marketing of prescription opioids, McKinsey obtained enrichment it

  would not otherwise have obtained. Because of McKinsey’s role in expanding the impact of

  Purdue’s conscious failure to exercise due diligence in preventing diversion, McKinsey obtained

  enrichment it would not otherwise have obtained in continuing to receive consulting fees. The

  enrichment was without justification and Plaintiff lacks a remedy provided by law.

           216.   McKinsey has unjustly retained benefits to the detriment of Plaintiff, and

  McKinsey’s retention of such benefits violates the fundamental principles of justice, equity, and

  good conscience.

           217.   McKinsey’s misconduct alleged in this case was ongoing and persistent for many

  years.

           218.   McKinsey’s misconduct alleged in this case does not concern a discrete event or

  discrete emergency of the sort a political subdivision would reasonably expect to occur, and is



                                                  57
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 62 of 82                        PageID #: 70




  not part of the normal and expected costs of a local government’s existence. Plaintiff alleges

  wrongful acts which are neither discrete nor of the sort a local government can reasonably

  expect.

            219.   Plaintiff has incurred expenditures for special programs over and above their

  ordinary public services.

            220.   Plaintiff seeks an order compelling McKinsey to disgorge all unjust enrichment to

  Plaintiff; and awarding such other, further, and different relief as this Honorable Court may deem

  just.

                                FOURTH CAUSE OF ACTION
                          VIOLATION OF RICO, 18 U.S.C. § 1961 ET SEQ.

            221.   Plaintiff realleges and incorporates herein by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged in this Count.

            222.   McKinsey and the opioid manufacturers are “persons” within the meaning of 18

  U.S.C. § 1961(3) which conducted the affairs of an enterprise through a pattern of racketeering

  activity, in violation of 18 U.S.C. § 1962.

            223.   Plaintiff was injured in its business or property as a result of McKinsey’s

  wrongful conduct and is a “person” who can bring an action for violation of section 1962, as that

  term is defined in 18 U.S.C. § 1961(3).

            224.   Under Section 1962(a), it is

            unlawful for any person who has received any income derived, directly or
            indirectly, from a pattern of racketeering activity or through collection of an
            unlawful debt in which such person has participated as a principal within the
            meaning of section 2, title 18, United States Code, to use or invest, directly or
            indirectly, any part of such income, or the proceeds of such income, in acquisition
            of any interest in, or the establishment or operation of, any enterprise which is
            engaged in, or the activities of which affect, interstate or foreign commerce.




                                                    58
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 63 of 82                        PageID #: 71




         225.    Further, Section 1962(d) makes it unlawful for “any person to conspire to violate”

  Section 1962(c), among other provisions.

         226.    McKinsey and the participating opioid manufacturers conducted the affairs of an

  enterprise through a pattern of racketeering activity, hereinafter the “Opioid Marketing

  Enterprise,” in violation of 18 U.S.C. § 1962(c) and § 1962(d).

                 A.        Description of the Enterprise.

         227.    RICO defines an enterprise as “any individual, partnership, corporation,

  association, or other legal entity, and any union or group of individuals associated in fact

  although not a legal entity.” 18 U.S.C. § 1961(4).

         228.    A RICO “enterprise” need not have any formal legal structure, so long as it has (i)

  a common purpose, (ii) relationships among those associated with the enterprise, and (iii)

  longevity sufficient to pursue the enterprise’s purpose. See Boyle v. United States, 556 U.S. 938,

  946 (2009).

         229.    In order to unlawfully increase the demand for opioids, McKinsey and opioid

  manufacturers formed the Opioid Marketing Enterprise, as described in Count V above.

         230.    Alternatively, McKinsey and each of the participating opioid manufacturers

  constitutes a single legal entity or associated-in-fact “enterprise” within the meaning of 18

  U.S.C. § 1961(4), through which the members of the enterprise conducted a pattern of

  racketeering activity.

         231.    While McKinsey participated in the Opioid Marketing Enterprise, McKinsey

  also existed separate and distinct from the Opioid Marketing Enterprise.

         232.    McKinsey and the opioid manufacturers, including Purdue and, upon information

  and belief, Janssen and Endo, maintained an interest and control of the Opioid Marketing



                                                    59
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 64 of 82                       PageID #: 72




  Enterprise and also conducted and participated in the conduct of the Opioid Marketing

  Enterprise's affairs through a pattern of racketeering activity.

           233.   The Opioid Marketing Enterprise engaged in, and its activities affected,

  interstate and foreign commerce because it involved commercial activities across state

  boundaries, including but not limited to: (1) the marketing, promotion, and advertisement of

  prescription opioids, and (2) the issuance of fees, bills, and statements demanding payment for

  prescriptions of opioid medications and consulting fees for McKinsey.

                  B.     The Members used the Opioid Marketing Enterprise to fraudulently
                         increase profits and revenues through a pattern of racketeering activity.

           234.   The persons engaged in the Opioid Marketing Enterprise are systematically linked

  through contractual relationships, financial ties, and long-term coordination of activities, as

  spearheaded by McKinsey and its manufacturer partners, as described in the allegations of

  Count V, incorporated by reference herein. Typically, this communication occurred, and

  continues to occur, through the use of the wires and the mail in which McKinsey and the other

  Enterprise members shared information regarding the operation of the Opioid Marketing

  Enterprise.

           235.   Specifically, the members of the Opioid Marketing Enterprise have committed,

  conspired to commit, and/or aided and abetted in the commission of, at least two predicate acts

  of racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343), within the past ten

  years.

           236.   In devising and executing the illegal scheme, the members of the Opioid

  Marketing Enterprise devised and knowingly carried out a material scheme and/or artifice to

  defraud Plaintiff and the public to obtain money by means of materially false or fraudulent

  pretenses, representations, promises, or omissions of material facts.

                                                    60
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 65 of 82                        PageID #: 73




         237.    For the purpose of executing the illegal scheme, the members of the Opioid

  Marketing Enterprise committed these racketeering acts, intentionally and knowingly with the

  specific intent to advance the illegal scheme.

         238.    The Opioid Marketing Enterprise’s predicate acts of racketeering (18 U.S.C. §

  1961(1)) include, but are not limited to:

                 a. Wire Fraud: The members of the Opioid Marketing Enterprise violated
                    18 U.S.C. § 1343 by transmitting and/or receiving, or by causing to be
                    transmitted and/or received, fraudulent materials by wire for the
                    purpose of selling drugs, specifically opioids, that have little or no
                    demonstrated efficacy for the pain they are purported to treat in the
                    majority of persons prescribed them.

                 b. Violation of Controlled Substances Act (“CSA”). The members of the
                    Opioid Marketing Enterprise violated 21 U.S.C. § 483(a)(4), which
                    makes it unlawful “for any person to knowingly or intentionally
                    furnish false or fraudulent information in, or omit any material
                    information from, any application, report, record or other document
                    required to be made, kept or filed under this subchapter,” and a
                    violation of which is punishable by up to four years in jail, see 21
                    U.S.C. § 483(d)(1), making it a felony.

         239.    The wire transmissions were made, and the omissions of information required to

  be reported under the federal Controlled Substances Act were undertaken, in furtherance of the

  fraudulent scheme and common course of conduct to expand the market for opioids and increase

  their profits through misleading and deceptive marketing and turning a blind eye to potential

  diversion.

         240.    The multiple acts of racketeering activity which the members of the Opioid

  Marketing Enterprise committed, or aided or abetted in the commission of, were related to each

  other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

  racketeering activity.”




                                                   61
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 66 of 82                       PageID #: 74




         241.    The members’ control and participation in the Opioid Marketing Enterprise were

  necessary for the successful activity in which McKinsey engaged that included but was not

  limited to the acts detailed above

         242.    Through their personal relationships, the members of the Opioid Marketing

  Enterprise had the opportunity to form and take actions in furtherance of the Opioid Marketing

  Enterprise’s common purpose. The Enterprise’s wire fraud and CSA violations, and conspiracy

  to commit wire fraud were each the proximate cause of Plaintiff’s damages as detailed herein.

  These violations occurred through the execution of McKinsey’s and opioid manufacturer

  members’ scheme using omissions of material fact and affirmative misrepresentation, and

  engaging in such promotional efforts even in the face of signs growth in opioid sales was in part

  due to non-medical use, to perpetrate the fraud upon Plaintiff and the public.

         243.    To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

  members hid from the prescribers and the public the fraudulent nature of the marketing scheme

  and the true nature of the relationship between the members of the Opioid Marketing Enterprise.

         244.    As public scrutiny and media coverage focused on how opioids ravaged

  community in throughout the United States, McKinsey did not challenge Purdue or other

  manufacturers’ misrepresentations or seek to correct their previous misrepresentations. Instead

  of terminating its role in the Opioid Marketing Enterprise, correcting deceptive messages, or

  reporting suspicious activity, McKinsey continued to participate in the Opioid Marketing

  Enterprise for financial gain.

         245.    As a result of McKinsey’s racketeering activity, Plaintiff has been injured in their

  business and property, including but not limited to injury in the form of costs of providing




                                                  62
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 67 of 82                        PageID #: 75




  emergency, child-protective, law-enforcement, and other services to combat opioid addiction and

  overdose.

         246.    McKinsey’s violations of 18 U.S.C. § 1962(c) and (d) have directly and

  proximately caused injuries and damages to Plaintiff, who is entitled to bring this action for three

  times its actual damages, as well as injunctive/equitable relief, costs, and reasonable attorney’s

  fees pursuant to 18 U.S.C. § 1964(c).

                                      PRAYER FOR RELIEF

         247.    Plaintiff respectfully request that this Court enter an order of judgment granting

  all relief requested in this Complaint, and/or allowed at law or in equity, including:

                 a. A finding that, by the acts alleged herein, Defendant has created a public
                    nuisance;

                 b. An injunction permanently enjoining McKinsey from engaging in the acts and
                    practices that caused the public nuisance;

                 c. An order directing McKinsey to abate the public nuisance;

                 d. Compensatory damages in an amount in excess of $25,000 sufficient to fairly
                    and completely compensate for all damages alleged herein;

                 e. Punitive damages in excess of $25,000;

                 f. Disgorgement of McKinsey’s unjust enrichment, benefits, and ill-gotten gains,
                    plus interest, acquired as a result of the unlawful or wrongful conduct alleged
                    herein;

                 g. A finding that by the acts alleged herein, McKinsey violated 18 U.S.C. §
                    1961, et seq.

                 h. Actual damages, treble damages, and equitable relief under 18 U.S.C. § 1964
                    for violations of 18 U.S.C. § 1961, et seq.;

                 i. For costs, filing fees, pre and post judgment interest, and attorney’s fees; and

                 j. For all other relief at law or in equity, deemed just by this Court.

  Dated: Honolulu, Hawaii, November 12, 2021.



                                                   63
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 68 of 82         PageID #: 76




                                            Respectfully submitted,

                                            /s/John Choi
                                            John Choi
                                            733 Bishop Street, Suite 2390
                                            Honolulu HI 96813

                                            Counsel for Plaintiff Hawai’i County




                                       64
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 69 of 82    PageID #: 77




  JOHN Y.U. CHOI 7264-0
  HAWAII ACCIDENT LAW CENTER
  Pacific Guardian Center, Makai Tower                            Electronically Filed
  733 Bishop Street, Suite 2390                                   THIRD CIRCUIT
  Honolulu, Hawaii 96813                                          3CCV-XX-XXXXXXX
  attorneyjohnchoi@gmail.com                                      18-NOV-2021
  Tel 808.792.8333 Fax 808.536.4988                               04:27 PM
  Cell 808.258.4985                                               Dkt. 2 CMPS

  Attorneys for Plaintiff Hawai’i County

                IN THE CIRCUIT COURT OF THE THIRD CIRCUIT

                                  STATE OF HAWAI’I

  HAWAI’I COUNTY,                          CIVIL NO.:
                                           [Tort Non-Motor Vehicle]
                          Plaintiff,
  v.
                                           PROPOSED SUMMONS
  MCKINSEY & COMPANY, INC.

                          Defendant.

                                 PROPOSED SUMMONS
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 70 of 82   PageID #: 78
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 71 of 82   PageID #: 79




                                                                Electronically Filed
                                                                THIRD CIRCUIT
                                                                3CCV-XX-XXXXXXX
                                                                18-NOV-2021
                                                                04:27 PM
                                                                Dkt. 3 CIS
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 72 of 82               PageID #: 80




  JOHN Y.U. CHOI 7264-0
  HAWAII ACCIDENT LAW CENTER
  Pacific Guardian Center, Makai Tower                                      Electronically Filed
  733 Bishop Street, Suite 2390                                             THIRD CIRCUIT
  Honolulu, Hawaii 96813                                                    3CCV-XX-XXXXXXX
  attorneyjohnchoi@gmail.com                                                18-NOV-2021
  Tel 808.792.8333 Fax 808.536.4988                                         04:27 PM
  Cell 808.258.4985                                                         Dkt. 4 EXPM

  Attorneys for Plaintiff Hawai’i County

                 IN THE CIRCUIT COURT OF THE THIRD CIRCUIT

                                   STATE OF HAWAI’I

  HAWAI’I COUNTY,                               CIVIL NO.:
                                                [Tort Non-Motor Vehicle]
                           Plaintiff,
  v.                                            REQUEST TO REMOVE CASE FROM
                                                COURT ANNEXED ARBITRATION
  MCKINSEY & COMPANY, INC.                      PROGRAM

                           Defendant.


                         REQUEST TO REMOVE CASE FROM
                      COURT ANNEXED ARBITRATION PROGRAM

                Plaintiff above named, by and through its attorneys, the Hawaii Accident

  Law Center, hereby request that this case be exempted from the Court Annexed

  Arbitration Program pursuant to Rules 6, 8(A), (B) and (D) of the Hawaii Arbitration

  Rules. The basis for this request is that Plaintiff’s damages exceed $150,000. Plaintiff

  HAWAI‘I COUNTY, as a government entity, has been on the front lines of aiding those

  affected by the ongoing opioid epidemic. The financial burden to Plaintiff of providing

  public health services and treatment programs to the community, as well as providing

  safety measures to combat the increase in opioid overdoses and drug crimes is

  staggering. This case is valued in excess of $1,000,000 for ongoing health services and

  programs for the community, continued first responder presence to address the opioid
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 73 of 82              PageID #: 81




  epidemic. Plaintiff HAWAI‘I COUNTY has been directly affected by an increase in first

  responder costs caused by the opioid epidemic.

               As a result of the foregoing, Plaintiff requests this case be exempted from

  the Court Annexed Arbitration Program.

               DATED: Honolulu, Hawaii, November 16, 2021.
                                           HAWAII ACCIDENT LAW CENTER

                                                 /s/ John Choi
                                           BY: _______________________
                                                 JOHN CHOI, ESQ.
                                                 Attorney for Plaintiff
  Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 74 of 82                 PageID #: 82




                                                                Electronically Filed
                                                                THIRD CIRCUIT
                                                                3CCV-XX-XXXXXXX
                                                                18-NOV-2021
                                                                04:27 PM
                                                                Dkt. 6 PYD
                       IN THE CIRCUIT COURT OF THE THIRD CIRCUIT
                                    STATE OF HAWAI`I



                                             CASE NO. 3CCV-XX-XXXXXXX
Hawaii County v. McKinsey & Company,
Inc.
                                             PAYMENT DUE TO COURT




                                   PAYMENT DUE TO COURT


Choi, John Y. U. owes the following fees:
$315.00 Complaint/Summons
$200.00 Demand for Jury Trial


The total amount due is $515.00. Make your payment to Circuit Court of the Third Circuit, 777
Kilauea Avenue, Hilo, HI, 96720 with this notice within ten (10) days of this notice.
If you do not pay the total amount due, your complaint will be dismissed or your document
stricken.


You may file a request that the court waive the filing fees. If the court does not grant
your request, you must pay the filing fees.


Dated: November 18, 2021
                                                             /s/ Lester Oshiro
                                                             Clerk of the Court




                                                 1 of 1
 Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 75 of 82            PageID #: 83
                                         THIRD CIRCUIT
                                        STATE OF HAWAI`I
                                            RECEIPT


                                                                         Electronically Filed
                                                                         THIRD CIRCUIT
                                                                         3CCV-XX-XXXXXXX
                                                                         18-NOV-2021
                                                                         04:30 PM
                                                                         Dkt. 8 PY
Case No:3CCV-XX-XXXXXXX
                                                                            RECEIPT NO:32562
RECEIVED FROM: Choi, John Y. U.
                                                                                   18-NOV-2021
                                                                                       4:29 PM
THE SUM OF: $515.00

DESCRIPTION: Payment by Credit Card

1. Complaint/Summons
          ADMN- ADMIN_FEE                                                                 $50.00
          CIND- INDIGENT_SURCHARGE                                                        $65.00
          V002- Complaint/Summons                                                        $200.00
2. Demand for Jury Trial
          V006- Demand for Jury Trial                                                    $200.00
TOTAL                                                                                    $515.00




                                               /s/Court Document Clerk
                                                          NOTICE OF CORRECTION


                                                                                                                                          Electronically Filed
                                                                                                                                          THIRD CIRCUIT
                                                                                                                                          3CCV-XX-XXXXXXX
                                                                                                                                          19-NOV-2021
                                                                                                                                          08:33 AM
                                                                                                                                          Dkt. 9 NOC
A correction has been made to the docket for Case Number 3CCV-XX-XXXXXXX. On 19-NOV-2021 docket entry 4 was updated as a result of eFiling Correction.

                                        Case ID     3CCV-XX-XXXXXXX
                                            Title   Hawaii County v. McKinsey & Company, Inc.
                          Correction Date / Time    FRIDAY, NOVEMBER 19, 2021 08:33:19 AM
                                      Case Type     Circuit Court Civil
                              Correction Reason     eFiling Correction




                                                    This notification is being electronically mailed to:
                                                    John Y. U. Choi ( attorneyjohnchoi@gmail.com )
                                                                                                                                                                 Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 76 of 82
                                                                                                                                                                 PageID #: 84




                                                                                              1 of 1
                                                          NOTICE OF CORRECTION


                                                                                                                                          Electronically Filed
                                                                                                                                          THIRD CIRCUIT
                                                                                                                                          3CCV-XX-XXXXXXX
                                                                                                                                          19-NOV-2021
                                                                                                                                          08:49 AM
                                                                                                                                          Dkt. 10 NOC
A correction has been made to the docket for Case Number 3CCV-XX-XXXXXXX. On 19-NOV-2021 docket entry 2 was updated as a result of eFiling Correction.

                                        Case ID     3CCV-XX-XXXXXXX
                                            Title   Hawaii County v. McKinsey & Company, Inc.
                          Correction Date / Time    FRIDAY, NOVEMBER 19, 2021 08:49:14 AM
                                      Case Type     Circuit Court Civil
                              Correction Reason     eFiling Correction




                                                    This notification is being electronically mailed to:
                                                    Third Circuit Court 1st Division ( 1stdivision.3cc@courts.hawaii.gov )
                                                    John Y. U. Choi ( attorneyjohnchoi@gmail.com )
                                                                                                                                                                 Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 77 of 82
                                                                                                                                                                 PageID #: 85




                                                                                            1 of 1
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 78 of 82   PageID #: 86




                                                                Electronically Filed
                                                                THIRD CIRCUIT
                                                                3CCV-XX-XXXXXXX
                                                                19-NOV-2021
                                                                09:05 AM
                                                                Dkt. 11 SUMM
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 79 of 82   PageID #: 87
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 80 of 82   PageID #: 88




                                                                Electronically Filed
                                                                THIRD CIRCUIT
                                                                3CCV-XX-XXXXXXX
                                                                10-DEC-2021
                                                                04:23 PM
                                                                Dkt. 15 AS
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 81 of 82   PageID #: 89




                                                               Electronically Filed
                                                               THIRD CIRCUIT
                                                               3CCV-XX-XXXXXXX
                                                               10-DEC-2021
                                                               04:23 PM
                                                               Dkt. 16 RAS
Case 1:21-cv-00503-LEK-RT Document 1-1 Filed 12/21/21 Page 82 of 82   PageID #: 90
